(1 of 79), Page 1 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 1 of 79


                                              No. 24-6576


                          IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE NINTH CIRCUIT


                                      JEFFREY POWERS, et al.,
                                                          Plaintiffs-Appellees,
                                                    v.
                              DENIS RICHARD MCDONOUGH, et al.,
                                                          Defendants-Appellants


                          On Appeal from the United States District Court
                               for the Central District of California


                                     BRIEF FOR APPELLANTS


                                                         BRIAN M. BOYNTON
                                                           Principal Deputy Assistant
                                                             Attorney General
                                                         E. MARTIN ESTRADA
                                                            United States Attorney
                                                         CATHERINE M.A. CARROLL
                                                          Deputy Assistant Attorney General
                                                         CHARLES W. SCARBOROUGH
                                                         DANIEL WINIK
                                                         AMANDA L. MUNDELL
                                                          Attorneys, Appellate Staff
                                                          Civil Division, Room 7245
                                                          U.S. Department of Justice
                                                          950 Pennsylvania Avenue NW
                                                          Washington, DC 20530
                                                          (202) 305-8849
(2 of 79), Page 2 of 79           Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 2 of 79




                                                     TABLE OF CONTENTS

                                                                                                                                 Page

             TABLE OF AUTHORITIES .................................................................................. iii

             INTRODUCTION .................................................................................................. 1

             STATEMENT OF JURISDICTION ...................................................................... 5

             STATEMENT OF ISSUES ..................................................................................... 5

             PERTINENT STATUTORY PROVISIONS ......................................................... 6

             STATEMENT OF THE CASE ............................................................................... 6

                      A.       The West LA Campus and Greater LA Healthcare System .........6

                      B.       Valentini ................................................................................................7

                      C.       Post-Valentini Developments ............................................................8

                      D.       This Litigation ...................................................................................12

             SUMMARY OF ARGUMENT ............................................................................ 18

             STANDARD OF REVIEW .................................................................................. 22

             ARGUMENT ......................................................................................................... 23

             I.       The VJRA Bars Plaintiffs’ Rehabilitation Act Claims Against VA ..... 23

             II.      The District Court Erred In Certifying A Class For Plaintiffs’
                      Claims Seeking Housing From VA ......................................................... 32

             III.     The District Court Erred On The Merits Of The Rehabilitation
                      Act Claims ................................................................................................... 36

                      A.       The District Court Erred In Analyzing The Olmstead
                               Claim ..................................................................................................36
(3 of 79), Page 3 of 79          Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 3 of 79




                     B.       The District Court Erred In Analyzing The Meaningful-
                              Access Claim .....................................................................................41

                     C.       The District Court Erred In Analyzing The Claim Related
                              To Developers’ Income Eligibility Policies ...................................44

                     D.       The District Court Erred In Granting Relief That Would
                              Fundamentally Alter VA’s Programs............................................47

             IV.     The District Court Erred In Its Charitable-Trust Ruling...................... 53

                     A.       Plaintiffs Lack Standing To Assert Their Trust Claims ..............53

                     B.       The 1888 Deed Did Not Establish A Trust Enforceable
                              Against The Government ................................................................55

             V.      The District Court’s Land-Use Injunctions Exceeded Its
                     Authority ..................................................................................................... 63

             CONCLUSION ..................................................................................................... 68

             STATEMENT OF RELATED CASES

             CERTIFICATE OF COMPLIANCE

             ADDENDUM




                                                                      - ii -
(4 of 79), Page 4 of 79           Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 4 of 79




                                                  TABLE OF AUTHORITIES

             Cases:                                                                                                      Page(s)

             Alexander v. Choate,
               469 U.S. 287 (1985) .......................................................................................47, 48

             Arizona v. Navajo Nation,
               599 U.S. 555 (2023) ............................................................................................. 60

             Broudy v. Mather,
               460 F.3d 106 (D.C. Cir. 2006) ............................................................................ 27

             Burris v. Wilkie,
               888 F.3d 1352 (Fed. Cir. 2018) .......................................................................... 32

             Califano v. Yamasaki,
               442 U.S. 682 (1979) ............................................................................................. 64

             Camacho v. Nicholson,
               21 Vet. App. 360 (2007) ..................................................................................... 31

             Clark v. Skinner,
               937 F.2d 123 (4th Cir. 1991) .............................................................................. 30

             County of Fresno v. Azar,
               384 F. Supp. 3d 1164 (E.D. Cal. 2019) ............................................................. 64

             Cousins v. Secretary of the U.S. Department of Transportation,
               880 F.2d 603 (1st Cir. 1989) ............................................................................... 30

             Doe v. Attorney General,
              941 F.2d 780 (9th Cir. 1991) .............................................................................. 30

             Elgin v. Department of the Treasury,
               567 U.S. 1 (2012) ................................................................................................. 27

             Farquhar v. United States,
               1990 WL 121076 (9th Cir. Aug. 21, 1990) ...........................................56, 57, 59




                                                                     - iii -
(5 of 79), Page 5 of 79           Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 5 of 79




             Fletcher v. City of San Diego,
               2002 WL 31480258 (Cal. Ct. App. Nov. 7, 2002)................................57, 58, 59

             Gill v. Whitford,
               585 U.S. 48 (2018) ............................................................................................... 64

             He Depu v. Yahoo! Inc.,
              950 F.3d 897 (D.C. Cir. 2020) ............................................................................ 54

             J.L. v. Social Security Administration,
                971 F.2d 260 (9th Cir. 1992) ........................................................................ 29, 30

             LA Alliance for Human Rights v. County of Los Angeles,
               14 F.4th 947 (9th Cir. 2021) ................................................................................. 3
               2021 WL 1546235 (C.D. Cal. Apr. 20, 2021) .................................................... 3

             Lewis v. Casey,
               518 U.S. 343 (1996) ............................................................................................. 43

             M.R. v. Dreyfus,
              697 F.3d 706 (9th Cir. 2012) .............................................................................. 37

             Maine Medical Center v. Burwell,
              841 F.3d 10 (1st Cir. 2016) ................................................................................. 65

             Mark H. v. Hamamoto,
              620 F.3d 1090 (9th Cir. 2010) ................................................................ 34, 42-43

             Metlakatla Indian Community v. Dunleavy,
              58 F.4th 1034 (9th Cir. 2023) ............................................................................. 22

             Moya v. DHS,
              975 F.3d 120 (2d Cir. 2020) ............................................................................... 30

             Northwest Environmental Defense Center v. Bonneville Power Administration,
              477 F.3d 668 (9th Cir. 2007) .............................................................................. 65

             Olmstead v. L.C. ex rel. Zimring,
               527 U.S. 581 (1999) .............................................................. 12, 34, 36, 37, 39, 48




                                                                    - iv -
(6 of 79), Page 6 of 79           Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 6 of 79




             Owino v. CoreCivic, Inc.,
              60 F.4th 437 (9th Cir. 2022) ............................................................................... 22

             Palisades General Hospital Inc. v. Leavitt,
               426 F.3d 400 (D.C. Cir. 2005) ...................................................................... 64, 65

             Perkins v. Lukens Steel Co.,
               310 U.S. 113 (1940) ............................................................................................. 67

             Pinkert v. Schwab Charitable Fund,
               48 F.4th 1051 (9th Cir. 2022) ............................................................................. 54

             S.A. v. Trump,
               363 F. Supp. 3d 1048 (N.D. Cal. 2018) ............................................................ 65

             Sai v. DHS,
               149 F. Supp. 3d 99 (D.D.C. 2015) ..................................................................... 30

             Story v. Snyder,
               184 F.2d 454 (D.C. Cir. 1950) ...................................................................... 58, 61

             Thunder Basin Coal Co. v. Reich,
               510 U.S. 200 (1994) ............................................................................................. 27

             Townsend v. Quasim,
               328 F.3d 511 (9th Cir. 2003) ..................................................................37, 48, 50

             TransUnion LLC v. Ramirez,
               594 U.S. 413 (2021) ............................................................................................. 54

             Traynor v. Turnage,
               485 U.S. 535 (1988) ............................................................................................. 25

             United States v. California Stem Cell Treatment Center, Inc.,
              117 F.4th 1213 (9th Cir. 2024) ........................................................................... 22

             Valentini v. Shinseki,
               860 F. Supp. 2d 1079 (C.D. Cal. 2012) ...............................................7, 8, 60, 62
               2012 WL 12882704 (C.D. Cal. June 19, 2012) .......................................8, 24, 25
               2013 WL 12121981 (C.D. Cal. Aug. 29, 2013) ................................................... 8


                                                                    -v-
(7 of 79), Page 7 of 79            Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 7 of 79




             Veterans for Common Sense v. Shinseki,
               678 F.3d 1013 (9th Cir. 2012) ....................................... 18, 23, 24, 25, 26, 27, 28

             Wal-Mart Stores, Inc. v. Dukes,
              564 U.S. 338 (2011) .......................................................................................33, 36

             Statutes:

             Rehabilitation Act of 1973,
               Pub. L. No. 93-112, tit. V, § 504, 87 Stat. 355 .................................................. 28

             Rehabilitation, Comprehensive Services, and Developmental Disabilities
               Amendments of 1978, Pub. L. No. 95-602, tit. I, 92 Stat. 2955............... 28-29
                § 119(2) ................................................................................................ 28-29, 29
                § 120 ................................................................................................................. 29

             West Los Angeles Leasing Act of 2016,
              Pub. L. No. 114-226, 130 Stat. 926...................................................................... 9
                § 2(a) .................................................................................................................. 9
                § 2(a)-(b) .......................................................................................................... 47
                § 2(b)(1) ............................................................................................................. 9
                § 2(b)(2) ............................................................................................................. 9
                § 2(b)(3) ........................................................................................................... 10
                § 2(h)(1) .....................................................................................................61, 62
                § 2(j)(1) ............................................................................................................. 62
                § 2(j)(2) ............................................................................................................. 62
                § 2(j)(3) ............................................................................................................. 61

             West Los Angeles VA Campus Improvement Act of 2021,
              Pub. L. No. 117-18, § (2)(a), 135 Stat. 288 ....................................................... 10

             2 U.S.C. § 159 .......................................................................................................... 62

             28 U.S.C. § 1291........................................................................................................ 5

             28 U.S.C. § 1331........................................................................................................ 5

             29 U.S.C. § 794(a) ..................................................................................................... 7

             38 U.S.C. § 111........................................................................................................ 35

                                                                        - vi -
(8 of 79), Page 8 of 79            Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 8 of 79




             38 U.S.C. § 111A..................................................................................................... 35

             38 U.S.C. § 511(a) ................................................................................................... 23

             38 U.S.C. § 7104(a) ...........................................................................................23, 31

             38 U.S.C. § 7252...................................................................................................... 23

             38 U.S.C. § 7292...................................................................................................... 23

             38 U.S.C. § 7301(b) ................................................................................................... 6

             38 U.S.C. § 8161(3) ................................................................................................... 9

             Cal. Mil. & Vet. Code § 987.005(h) ...................................................................... 46

             Administrative Material:

             38 C.F.R. § 15.130(b)(1) ......................................................................................... 46

             38 C.F.R. § 15.130(d) .............................................................................................. 37

             38 C.F.R. pt. 70 ....................................................................................................... 35

             89 Fed. Reg. 65769 (Aug. 13, 2024) ................................................................ 45-46

             Rev. Proc. 2024-38, 2024-43 I.R.B. 1010............................................................... 46

             Legislative Material:

             H.R. Rep. No. 114-570 (2016) ............................................................................ 2, 9

             Other Authorities:

             Bogert et al., Bogert’s The Law of Trusts and Trustees
               (Westlaw, updated July 2024):
                 § 363 ................................................................................................................. 53
                 § 411 ................................................................................................................. 53
                 § 414 ................................................................................................................. 53




                                                                       - vii -
(9 of 79), Page 9 of 79            Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 9 of 79




             Restatement (Second) of Trusts § 95 (1959) ........................................................... 60

             Restatement (Third) of Trusts (2012),
               § 13 cmt. d ........................................................................................................... 55
               § 94(2) .................................................................................................................. 53
               § 94 cmt. g ........................................................................................................... 53
               § 94 cmt. g(1) ...................................................................................................... 54

             VA Housed Nearly 48,000 Veterans Experiencing Homelessness
              in Fiscal Year 2024 (Oct. 24, 2024), https://perma.cc/3Z9M-36B3............... 1

             WLA EUL Housing Phasing Plan & Release Parcel Schedule
              (Nov. 7, 2024), https://perma.cc/A9KK-7CFV............................................ 11




                                                                       - viii -
(10 of 79), Page 10 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 10 of 79




                                            INTRODUCTION

                    The Department of Veterans Affairs (VA) believes “‘[n]o Veteran

             should experience homelessness in this nation they swore to defend.’” VA

             Housed Nearly 48,000 Veterans Experiencing Homelessness in Fiscal Year 2024

             (Oct. 24, 2024), https://perma.cc/3Z9M-36B3. VA regards the provision of

             housing to unhoused Veterans as “a top priority.” Id. And although VA will

             not rest until every Veteran has a safe and stable home, VA’s efforts—coor-

             dinated with the Department of Housing and Urban Development (HUD)

             and other federal, state, and local agencies—have achieved significant im-

             provements. Nationally, VA housed nearly 48,000 previously unhoused

             Veterans in the most recent fiscal year, while in Los Angeles, the focus of this

             case, the population of Veterans experiencing homelessness declined by

             nearly a quarter between 2023 and 2024. Id.; see 1-ER-81.

                    Among the focal points of VA’s efforts to combat Veteran homeless-

             ness in Los Angeles is its West Los Angeles (LA) Campus—a parcel of land,

             donated to the government in 1888, located between the present-day West-

             wood and Brentwood neighborhoods. In 2016, after outreach to stakehold-

             ers and the public, VA issued a Draft Master Plan envisioning the construc-

             tion of 1,200 units of supportive housing on the Campus. Congress enacted
(11 of 79), Page 11 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 11 of 79




             the West Los Angeles Leasing Act of 2016 to “assist VA in carrying out” the

             plan, H.R. Rep. No. 114-570, at 6 (2016). The Act authorized VA to lease

             Campus land to private developers who would construct and operate the

             supportive housing envisioned by the plan.

                    The district court, however, decided that VA’s plan—implicitly rati-

             fied by Congress—was insufficient. The court ordered VA to construct an

             additional 1,800 units of permanent supportive housing beyond those envi-

             sioned in the plan, plus 750 temporary units, regardless of whether it could

             find developers willing to finance the housing. And the court asserted

             sweeping power to superintend VA’s management of the Campus by con-

             cluding that the original 1888 deed for the Campus imposed perpetual, judi-

             cially enforceable trust obligations. In an extraordinary series of hearings

             after its initial order, the court made clear how intrusively it intended to

             manage VA’s operations, opining about whether and where pickleball

             courts should be installed and whether certain housing units should be

             served by a sewer line, to name two examples of many. The court also in-

             validated four agreements by which VA allowed outside entities to use por-

             tions of the Campus, and enjoined VA from entering into future agreements




                                                     -2-
(12 of 79), Page 12 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 12 of 79




             with those entities, only to then order VA to enter into a new agreement with

             one of the entities on terms that the entity had agreed upon with plaintiffs.

                    This is not the first time this district court has expansively construed

             its powers in attempting to address the problem of homelessness. The same

             court previously ordered Los Angeles County to place $1 billion in escrow

             “to address the homelessness crisis” and to offer “shelter or housing to all

             unhoused individuals in Skid Row within 180 days.” LA Alliance for Human

             Rights v. County of Los Angeles, 14 F.4th 947, 952 (9th Cir. 2021), vacating 2021

             WL 1546235 (C.D. Cal. Apr. 20, 2021) (Carter, J.). There, as here, “the district

             court determined it was compelled to act” because the relevant government

             entities were “‘unable or unwilling’” to implement the court’s preferred “‘so-

             lutions’” for a “‘public health and safety emergency.’” Id. But this Court

             rejected that arrogation of authority, identifying numerous legal errors.

                    The district court’s rulings here reflect equally numerous and signifi-

             cant errors. First, the court lacked jurisdiction over plaintiffs’ claims for

             housing, which rest on the theory that VA is discriminating against plaintiffs

             based on their disabilities in violation of the Rehabilitation Act. The Veter-

             ans Judicial Review Act (VJRA) requires that claims related to VA’s provi-

             sion of benefits, including claims of discrimination in the provision of

                                                     -3-
(13 of 79), Page 13 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 13 of 79




             benefits, be brought through an administrative process and reviewed by spe-

             cialized courts. Second, the court erred in certifying a class for those claims,

             which turn on plaintiffs’ individual circumstances. Third, the court erred in

             resolving the merits of plaintiffs’ discrimination claims. The record did not

             support the court’s rulings against VA and HUD, and the remedies the court

             ordered were unlawful, including because they would force fundamental

             alterations to VA’s programs and undermine VA’s efforts to address Veteran

             homelessness. Fourth, plaintiffs lack standing to enforce the trust assertedly

             created by the original deed for the Campus—and even if they had standing,

             the deed did not impose a trust, nor did Congress provide for judicial en-

             forcement. Finally, the district court exceeded its authority in dictating what

             agreements VA may and must enter for the use of Campus land.

                    As in the prior homelessness case, no one doubts the seriousness of the

             concerns that animated the district court. But as in that case, the court seri-

             ously erred by translating its concerns into a sprawling injunction. VA’s

             Master Plan for the Campus, implicitly ratified by Congress, reflects VA’s

             expert judgment about how to use the Campus and its other resources most

             productively to help Veterans. The district court’s attempt to substitute its

             judgment for VA’s would only hinder VA’s efforts.

                                                     -4-
(14 of 79), Page 14 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 14 of 79




                                    STATEMENT OF JURISDICTION

                    The district court had jurisdiction under 28 U.S.C. § 1331, except to the

             extent it lacked jurisdiction for the reasons explained below (at 23-32, 46, 53-

             54, 64). The district court entered final judgment on October 11, 2024. 1-ER-

             21–25. The government timely filed this appeal on October 25, 2024. 7-ER-

             1632–1634; see Fed. R. App. P. 4(a)(1)(B). This Court has jurisdiction under

             28 U.S.C. § 1291.

                                         STATEMENT OF ISSUES

                    1.      Whether the VJRA precludes jurisdiction over plaintiffs’ Reha-

             bilitation Act claims against VA.

                    2.      Whether the district court erred in certifying a class for plaintiffs’

             Rehabilitation Act claims seeking housing from VA.

                    3.      Whether the district court erred in resolving plaintiffs’ Rehabili-

             tation Act claims against VA and HUD.

                    4.      Whether the district court erred in concluding that the deed for

             the Campus imposes trust obligations enforceable in this suit.

                    5.      Whether the district court exceeded its authority by dictating

             what agreements VA may and must enter for the use of Campus land.




                                                      -5-
(15 of 79), Page 15 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 15 of 79




                                PERTINENT STATUTORY PROVISIONS

                    Pertinent statutory provisions are reproduced in the addendum.

                                       STATEMENT OF THE CASE

                    A.      The West LA Campus and Greater LA Healthcare System

                    In 1887, Congress directed the creation of a branch of the National

             Home for Disabled Volunteer Soldiers “‘west of the Rocky Mountains.’” 1-

             ER-49. The following year, the government accepted a gift of 300 acres be-

             tween Santa Monica and Los Angeles for that purpose. Id. It built housing

             for disabled Veterans on the site. Id.

                    After World War II, the land—now known as the West LA Campus—

             came to be used not for housing but for healthcare. 1-ER-51. VA provides

             medical care for qualifying Veterans, 38 U.S.C. § 7301(b), and the Campus is

             the centerpiece of its Greater Los Angeles Healthcare System (VAGLAHS).

             Today, the Campus houses a “main hospital,” “research facilities,” and “two

             nursing homes,” 13-ER-3133–3134. The hospital provides “the bulk of the

             specialty care” available to Veterans in Los Angeles and acts as “a referral

             center for [other] clinics.” 13-ER-2974.

                    Outside the Campus, VAGLAHS operates numerous other facilities

             spanning five counties in Southern California. 10-ER-2258; 13-ER-3132–


                                                      -6-
(16 of 79), Page 16 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 16 of 79




             3133. They include ambulatory-care centers in downtown LA and Sepul-

             veda and eight “community-based outpatient clinics” in Los Angeles, Lan-

             caster, Bakersfield, San Louis Obispo, Santa Barbara, and Ventura. 13-ER-

             3132–3133. These clinics offer primary-care and mental-health services for

             homeless Veterans so that they need not travel to the Campus to receive that

             routine care. See 13-ER-2973–2974; 13-ER-2981–2982.

                    B.      Valentini

                    In 2011, a group of “severely disabled veterans with mental disabili-

             ties” or “brain injuries” sued VA. Valentini v. Shinseki (Valentini I), 860 F.

             Supp. 2d 1079, 1084 (C.D. Cal. 2012). They invoked § 504 of the Rehabilita-

             tion Act, which provides as relevant that “[n]o otherwise qualified individ-

             ual with a disability … shall, solely by reason of her or his disability, be ex-

             cluded from … participation in, be denied the benefits of, or be subjected to

             discrimination … under any program or activity conducted by any Execu-

             tive agency[.]” 29 U.S.C. § 794(a). The plaintiffs contended that, because

             they lacked housing near the Campus, they were denied access to on-Cam-

             pus healthcare benefits based on their disabilities. Valentini I, 860 F. Supp.

             2d at 1087. They also argued that the 1888 deed for the Campus “created a

             charitable trust” and that the government had breached that trust by


                                                      -7-
(17 of 79), Page 17 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 17 of 79




             authorizing uses of the Campus that did “not directly contribute to the op-

             eration of a home for disabled veterans.” Id. And they argued that agree-

             ments VA had made for the use of Campus land were invalid under the Ad-

             ministrative Procedure Act (APA). Id. at 1088.

                    The district court dismissed the charitable-trust claims, concluding

             that the government had not “accept[ed] fiduciary duties” with respect to

             the Campus. Id. at 1105-1106. The court also held that the VJRA barred ju-

             risdiction over the plaintiffs’ meaningful-access claim under the Rehabilita-

             tion Act. Valentini v. Shinseki (Valentini II), 2012 WL 12882704, at *4 (C.D. Cal.

             June 19, 2012). The court ruled for the plaintiffs on their APA claim. Valen-

             tini v. Shinseki, 2013 WL 12121981 (C.D. Cal. Aug. 29, 2013). The parties set-

             tled during appeal, committing to “work together in good faith,” including

             on “a New Master Plan for” the Campus. 26-ER-6713.

                    C.      Post-Valentini Developments

                    Consistent with the Valentini settlement, VA issued a Draft Master

             Plan for the Campus in 2016 after public notice and comment. 27-ER-6717.

             The plan provided for the construction of “[a]pproximately 1,200 new per-

             manent supportive housing units” on the Campus. 27-ER-6725.




                                                      -8-
(18 of 79), Page 18 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 18 of 79




                    Shortly thereafter, Congress enacted the West Los Angeles Leasing Act

             of 2016, Pub. L. No. 114-226, 130 Stat. 926 (Leasing Act), to “assist VA in car-

             rying out the tenets of the draft master plan,” H.R. Rep. No. 114-570, at 6.

             The Act authorized VA to enter into “enhanced-use lease[s] of real property”

             with private developers “for purposes of providing supportive housing …

             that principally benefit[s] veterans and their families.” Leasing Act § 2(a),

             (b)(1), 130 Stat. at 926. “Supportive housing” is defined for this purpose as

             “housing that engages tenants in on-site and community-based support ser-

             vices for veterans or their families that are at risk of homelessness or are

             homeless”; it includes both “[t]ransitional” and “[p]ermanent” and both

             “[s]ingle-room” and “[c]ongregate” housing. 38 U.S.C. § 8161(3); see Leasing

             Act § 2(b)(1), 130 Stat. at 926. The Act thus provided for on-Campus sup-

             portive housing to be constructed not by VA but by developers to whom VA

             leases land for that purpose.

                    In addition to authorizing enhanced-use leases for supportive housing,

             the Leasing Act authorizes VA to lease Campus land to outside parties for

             the provision of “services that principally benefit veterans and their fami-

             lies.” Leasing Act § 2(b)(2), 130 Stat. at 926. It also authorizes a lease to the




                                                     -9-
(19 of 79), Page 19 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 19 of 79




             Regents of the University of California, for its UCLA campus, under condi-

             tions specific to that lease. Id. § 2(b)(3), 130 Stat. at 926-927.

                    In 2021, Congress amended the Leasing Act, expanding the permissi-

             ble uses of Campus lease revenue to include, among other things, “[s]up-

             porting construction, maintenance, and services at the Campus relating to

             temporary or permanent supportive housing for homeless or at-risk veter-

             ans and their families.” West Los Angeles VA Campus Improvement Act of

             2021, Pub. L. No. 117-18, § (2)(a), 135 Stat. 288, 288.

                    In 2022, after further notice and comment, VA issued the current Mas-

             ter Plan. 24-ER-5974. Like the Draft Master Plan, it envisions 1,200 units of

             permanent supportive housing on the Campus, to be constructed and oper-

             ated by private developers through enhanced-use leases. 24-ER-5993.

                    Progress on the supportive housing contemplated by the Master Plan

             has been slower than VA projected in the 2016 draft, including because of

             “required environmental impact studies, needed infrastructure upgrades,

             the need to establish a principal developer enhanced-use lease, and chal-

             lenges faced by the developers in raising needed funds from public and pri-

             vate sources.” 26-ER-6634. But VA has made extensive efforts on the Cam-

             pus and elsewhere to address Veteran homelessness.                    VAGLAHS’s

                                                    - 10 -
(20 of 79), Page 20 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 20 of 79




             Community Engagement and Reintegration Service, with an annual budget

             of some $150 million, provides housing and other services “to 16,000 Veter-

             ans experiencing homelessness each year.” 24-ER-5985. It includes several

             on-Campus housing options:

                     Roughly 150 “tiny shelters” in the Care, Treatment and Rehabilita-
                      tive Services (CTRS) program, “designed to provide homeless Vet-
                      erans a safe and stable place to reside” and support services
                      “throughout the process of placing them into transitional or perma-
                      nent housing,” 24-ER-5985; see 1-ER-63; 11-ER-2336–2337; 11-ER-
                      2396–2397; 11-ER-2473;

                     Roughly 150 beds in several shelters: A Bridge Home, New Direc-
                      tions, and Oasis, see 1-ER-64; 11-ER-2399; 11-ER-2480; 24-ER-5985;

                     More than 200 beds in “two domiciliary buildings,” which provide
                      residential care “for veterans who have substance use disorder,
                      mental health, or chronic homelessness challenges,” 13-ER-3133–
                      3134; see 1-ER-62; and

                     At the time of trial, 233 units of permanent supportive housing op-
                      erated by private developers, 1-ER-65; see 24-ER-5986.

             Hundreds of additional units of permanent supportive housing are under

             construction on the Campus. 1-ER-65. The number of available units has

             risen to 307, and it will soon be 497, see WLA EUL Housing Phasing Plan &

             Release Parcel Schedule (Nov. 7, 2024), https://perma.cc/A9KK-7CFV. And

             outside the Campus, more than 5,000 Veterans receive HUD vouchers for

             affordable housing in the Greater LA area. 12-ER-2705.


                                                    - 11 -
(21 of 79), Page 21 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 21 of 79




                     D.     This Litigation

                     After VA issued the 2022 Master Plan, several Veterans with disabili-

             ties and the National Veterans Foundation brought this suit against VA. The

             operative complaint added HUD as a defendant and added a putative class

             of plaintiffs: “homeless Veterans with [serious mental illness] or [traumatic

             brain injury] who reside in Los Angeles County.” 7-ER-1610.

                     Three counts seek relief under the Rehabilitation Act. Counts 1 and 3

             assert that plaintiffs are entitled to on-Campus supportive housing because

             they otherwise lack meaningful access to their healthcare benefits and be-

             cause that lack of access places them at a serious risk of not receiving services

             “‘in the most integrated setting appropriate to [their] needs,’” Olmstead v.

             L.C. ex rel. Zimring, 527 U.S. 581, 592 (1999). 7-ER-1615-1617. Count 2 alleges

             that the developers to whom VA leases land, and for whose projects HUD

             vouchers can be used, impose income eligibility restrictions that discrimi-

             nate based on disability by counting Veterans’ benefits as income. 7-ER-

             1616.

                     The other counts concern agreements allowing outside entities to use

             portions of the Campus. Count 4 alleges that the 1888 deed created a chari-

             table trust and that the agreements breached that trust. 7-ER-1617–1622.


                                                     - 12 -
(22 of 79), Page 22 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 22 of 79




             Counts 5 and 7 are related equitable claims. 7-ER-1622–1625. Count 6 seeks

             relief under the APA, alleging that certain agreements are invalid under the

             Leasing Act. 7-ER-1622–1623.

                    The government moved to dismiss, contending, as Valentini II had

             held, that the VJRA bars jurisdiction over plaintiffs’ Rehabilitation Act

             claims. The district court denied the motion, reasoning that the VJRA bars

             review of only those issues the VA Secretary has actually “considered and

             decided,” 1-ER-236, and that federal courts are “better equipped” than VA

             “to adjudicate” Rehabilitation Act claims, 1-ER-237.

                    The court granted plaintiffs’ motion for class certification, reasoning

             that “individualized determinations” were irrelevant to “whether Federal

             Defendants’ policies and practices systematically deprive Plaintiffs of access

             to permanent supportive housing on the [Campus].” 1-ER-210.

                    The court granted in part plaintiffs’ motion for summary judgment,

             while denying the government’s cross-motion. 1-ER-201. As to count 2, the

             court concluded that “VA’s policy of contracting with developers who im-

             pose income limitations and count disability benefits as income” violates the

             Rehabilitation Act. 1-ER-193–194. And as to the trust claims, the court held




                                                    - 13 -
(23 of 79), Page 23 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 23 of 79




             that the deed created a trust and that the Leasing Act accepted fiduciary du-

             ties under the trust and made them enforceable. 1-ER-197–199.

                    After a four-week bench trial, the court entered factual findings and

             conclusions of law. 1-ER-47. The court concluded that by not providing

             supportive housing on or near the Campus, VA “denies veterans with seri-

             ous mental illness and traumatic brain injury meaningful access to the com-

             munity-based VA healthcare, mental healthcare, and other critical support-

             ive services they need and for which they are eligible” and “places unhoused

             veterans at risk of institutionalization.” 1-ER-81. The court determined that

             the construction of “1,800 additional permanent supportive housing units”

             beyond those contemplated by the Master Plan, “as well as 750 temporary

             supportive housing units to be used [while] permanent housing is con-

             structed, is a facially reasonable modification that is necessary to ensure De-

             fendants’ compliance with the Rehabilitation Act.” 1-ER-88. The court re-

             jected VA’s arguments that constructing that volume of additional housing

             would require fundamental alterations to its programs, with virtually no

             analysis of VA’s evidence. 1-ER-84. To the extent the court addressed the

             burdens its order would impose on VA, it concluded that a $100 million price

             tag for temporary supportive housing was “not unreasonable in the light of

                                                    - 14 -
(24 of 79), Page 24 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 24 of 79




             the VA’s overall annual budget of approximately $407 billion” and that the

             “costs of permanent supportive housing” were “not unreasonable” because

             they would “be spread out over” six years. 1-ER-84–85.

                    Based on its prior conclusion that income restrictions on housing are

             discriminatory if Veterans’ benefits are counted as income, the court ordered

             VA to ensure that “a sufficient number of housing units at the [Campus] are

             free from” such restrictions. 1-ER-89–90. The court opined that VA could

             achieve that goal by “directly fund[ing] or subsidiz[ing] permanent support-

             ive housing” or by “contract[ing] with developers who rely on … conven-

             tional financing” rather than on government programs that require income

             restrictions on the housing they fund. 1-ER-90. The court did not enter any

             injunctive relief affecting HUD.

                    The court concluded that four agreements for the use of Campus land

             by outside entities—UCLA, Brentwood School, Bridgeland Resources, and

             Safety Park—violated the Leasing Act and that the agreements therefore

             breached “VA’s fiduciary duty” under the 1888 deed. 1-ER-95. The court

             based its invalidation of the UCLA agreement solely on a charitable-trust

             theory; as to the other agreements, the court also relied on the APA. 1-ER-

             113–117. Beyond invalidating the agreements, the court enjoined VA “from

                                                    - 15 -
(25 of 79), Page 25 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 25 of 79




             entering into new leases with” those entities, citing what it regarded as

             “VA’s persistent mismanagement of the” Campus and the view that “rene-

             gotiation … would be futile.” 1-ER-118.

                    The court then held a series of additional hearings over a dozen days.

             It sought concessions from the holders of the invalidated land-use agree-

             ments by threatening, and in some cases imposing, severe consequences if

             concessions were not made. For example, the court barred UCLA from its

             baseball stadium, 1-ER-45–46, and discussed the potential demolition of the

             stadium, 3-ER-549; mused about “put[ting] sand in the [Brentwood] swim-

             ming pool,” 6-ER-1216; and ordered Bridgeland to cap its oil well with con-

             crete, 5-ER-1087, before partially relenting, see 4-ER-791 (modifying the

             Bridgeland order); 1-ER-2–4 (allowing UCLA into the stadium through the

             end of the baseball season in exchange for UCLA’s payment of $600,000).

                    The court also imposed significant new obligations on VA. It issued

             an “emergency order” directing VA to identify “vendors of modular hous-

             ing” that could be installed within three to four months, even though the

             post-trial opinion specified a 12-month timeline, and purported to “sus-

             pend[]” “[a]ny procurement rules applicable to VA” for the purchase of that

             housing. 1-ER-42–43. The court ordered VA to enter into a new lease with

                                                    - 16 -
(26 of 79), Page 26 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 26 of 79




             Brentwood on terms agreed upon by Brentwood and plaintiffs, while assert-

             ing the power to monitor VA’s use of revenue from the lease. 1-ER-33–37.

             And the court indicated its intent to superintend VA’s management of the

             Campus—which it repeatedly referred to as “veterans’ land,” e.g., 4-ER-

             714—in minute detail. See, e.g., 5-ER-1017 (“Over the weekend, I’ve had

             some thoughts whether that [land] might be converted to one pickleball

             court.”); 4-ER-806 (“[T]here’s no reason that I even have to hook up to sewer.

             I can run portable toilets in and showers in and I prefer to do that on a tem-

             porary basis and get people off the streets.”).

                    After the district court entered final judgment, 1-ER-21, the govern-

             ment filed this appeal and sought a stay pending appeal. The district court

             denied the requested stay, 2-ER-260, but a motions panel of this Court unan-

             imously granted it. The government did not seek a stay of the portion of the

             judgment invalidating the challenged land-use agreements, and during this

             appeal, VA has been working toward renegotiating those agreements to im-

             prove the benefits they offer to Veterans.




                                                    - 17 -
(27 of 79), Page 27 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 27 of 79




                                       SUMMARY OF ARGUMENT

                    The district court’s judgment should be reversed.1

                    I.      The VJRA precludes jurisdiction over plaintiffs’ Rehabilitation

             Act claims against VA. In Veterans for Common Sense v. Shinseki, 678 F.3d 1013

             (9th Cir. 2012) (en banc), the Court held that the VJRA barred a challenge to

             VA’s allegedly systemic delays in providing healthcare and adjudicating

             benefits claims because determining the reasonableness of those delays

             would require “review[ing] the circumstances surrounding the VA’s provi-

             sion of benefits to individual veterans.” Id. at 1027. That is equally true here.

                    II.     For closely related reasons, the district court erred in certifying a

             class for plaintiffs’ Rehabilitation Act claims seeking housing from VA.

             Those claims turn on Veterans’ individual circumstances—their particular

             disabilities, their particular healthcare needs, their particular barriers in ac-

             cessing healthcare services on Campus, and what particular accommoda-

             tions they would need to overcome those barriers.




                    1 The government is not challenging the invalidation of the Brentwood,

             Bridgeland, and Safety Park agreements under the APA, but it is challenging
             the invalidation of the UCLA agreement because that ruling rested solely on
             a charitable-trust theory.

                                                     - 18 -
(28 of 79), Page 28 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 28 of 79




                    III.    The district court also erred on the merits in resolving plaintiffs’

             Rehabilitation Act claims against VA and HUD.

                    A.      Under Olmstead, public entities cannot provide services in a

             manner that causes unjustified institutional isolation of persons with disa-

             bilities or a serious risk of such institutionalization. But the district court did

             not find, and the record does not indicate, that VA’s manner of providing its

             healthcare services has caused any such institutionalization or risk thereof.

             Rather, the court appeared to believe that because VA provides certain ser-

             vices for Veterans, and because Veterans are likelier to be hospitalized or

             jailed if unhoused than if housed, it follows that VA must house them—even

             if the harms they suffer when unhoused are not attributable to the manner

             in which VA provides its healthcare services. That is incorrect.

                    B.      The record is likewise insufficient to support the district court’s

             conclusion that a lack of on-Campus supportive housing deprives plaintiffs

             of meaningful access to VA healthcare benefits. The record establishes that

             Veterans can most easily access on-Campus services when they live on Cam-

             pus, but that does not mean Veterans who live elsewhere (with or without

             housing) lack meaningful access to on-Campus services. The district court

             did not make findings sufficient to justify that conclusion; nor did it attempt

                                                     - 19 -
(29 of 79), Page 29 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 29 of 79




             to tailor the relief it entered to any plaintiffs or categories of plaintiffs who

             could establish particularized barriers to access.

                    C.      The district court further erred in concluding that the Rehabili-

             tation Act precludes VA from leasing to developers who count disability

             benefits as income for purposes of determining eligibility for the housing.

             To the extent any developers maintain such policies after recent changes by

             HUD, the Treasury Department, and the State of California, the policies treat

             all income equally, whether it comes from disability benefits or from em-

             ployment. The district court also lacked any basis to order VA to build hous-

             ing itself if it cannot find developers willing to refrain from discrimination.

                    D.      Finally, the district court erred in summarily rejecting VA’s con-

             tention that being compelled to construct extensive additional on-Campus

             housing would require fundamental alterations to VA’s programs. It would

             require VA to shift finite resources away from community-wide efforts to

             serve Veterans, including those with a range of disabilities, and toward

             housing in a single location for Veterans with particular disabilities. It

             would create an expectation that Veterans with serious mental illnesses or

             traumatic brain injuries should be housed on the Campus, limiting their abil-

             ity to choose among other settings appropriate to their needs. It would

                                                     - 20 -
(30 of 79), Page 30 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 30 of 79




             undermine the goal of integrating them into the community. And it would

             make the Campus a less hospitable environment for Veterans with disabili-

             ties who live there. The district court dismissed these considerations with-

             out meaningfully addressing the government’s evidence.

                    IV.     The district court equally erred in holding that VA incurred en-

             forceable trust obligations under the 1888 deed.

                    A.      Plaintiffs lack standing to enforce the asserted trust. Individuals

             intended to benefit from a charitable trust generally cannot sue to enforce it.

             Some courts have recognized an exception where a trust is meant to benefit

             a group that is well defined and limited in number, but that is not true here.

                    B.      In any event, the deed did not establish a trust enforceable

             against the government. The relevant language merely explains the donors’

             motivations; it does not impose perpetual trust duties. And even if the deed

             created a trust, fiduciary duties are enforceable against the government only

             when a statute or regulation unambiguously assumes them and authorizes

             judicial enforcement; that has not happened here.

                    V.      Finally, the district court exceeded its authority by enjoining VA

             from entering into new agreements with the entities whose land-use agree-

             ments the court invalidated and by later ordering VA to enter into a new

                                                     - 21 -
(31 of 79), Page 31 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 31 of 79




             agreement with one of those entities on terms agreed upon by plaintiffs and

             that entity. That relief was unnecessary to remedy plaintiffs’ asserted inju-

             ries and exceeded the court’s authority under the APA.

                                        STANDARD OF REVIEW

                    After a bench trial, this Court “review[s] a district court’s conclusions

             of law de novo and its findings of fact for clear error.” United States v. Cali-

             fornia Stem Cell Treatment Ctr., Inc., 117 F.4th 1213, 1217 (9th Cir. 2024). As to

             class certification, this Court “‘review[s]” the district court’s “‘determination

             for legal error under a de novo standard’”; “‘if no legal error occurred,’” the

             Court “‘proceed[s] to review the decision for abuse of discretion.’” Owino v.

             CoreCivic, Inc., 60 F.4th 437, 443 (9th Cir. 2022), cert. denied, 143 S. Ct. 2612

             (2023). Finally, the Court “review[s] for abuse of discretion a decision to

             grant or deny permanent injunctive relief, but [it] review[s] de novo the un-

             derlying legal conclusions on which the district court based its decision.”

             Metlakatla Indian Cmty. v. Dunleavy, 58 F.4th 1034, 1042 (9th Cir. 2023).




                                                    - 22 -
(32 of 79), Page 32 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 32 of 79




                                                ARGUMENT

             I.     The VJRA Bars Plaintiffs’ Rehabilitation Act Claims Against
                    VA

                    A.      The VJRA provides that the VA “Secretary shall decide all ques-

             tions of law and fact necessary to a decision by the Secretary under a law

             that affects the provision of benefits by the Secretary to veterans or the de-

             pendents or survivors of veterans.” 38 U.S.C. § 511(a). It gives an adminis-

             trative body, the Board of Veterans Appeals, jurisdiction to decide “[a]ll

             questions in a matter which under [§ 511(a)] is subject to decision by the Sec-

             retary.” Id. § 7104(a). And it provides for review of the Board’s decisions by

             an Article I court—the Court of Appeals for Veterans Claims, id. § 7252,

             known as the Veterans Court—whose decisions are in turn reviewable by

             the Federal Circuit, id. § 7292, and the Supreme Court.

                    In Veterans for Common Sense v. Shinseki, 678 F.3d 1013 (9th Cir. 2012)

             (en banc) (VCS), this Court explained that the VJRA “precludes jurisdiction

             over a claim if it requires the district court to review ‘VA decisions that relate

             to benefits decisions,’ including ‘any decision made by the Secretary in the

             course of making benefits determinations.’” Id. at 1025 (citation omitted).

             “This preclusion extends not only to cases where adjudicating veterans’



                                                     - 23 -
(33 of 79), Page 33 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 33 of 79




             claims requires the district court to determine whether the VA acted

             properly in handling a veteran’s request for benefits, but also to those deci-

             sions that may affect such cases.” Id.

                    The Court’s application of the VJRA bar clarified its breadth. The

             Court held that the VJRA precluded claims challenging systemic “delays in

             [VA’s] provision of mental health care and … adjudication of service-related

             disability benefits” because determining whether those delays were unrea-

             sonable would require “review[ing] the circumstances surrounding the VA’s

             provision of benefits to individual veterans.” Id. at 1026-1027. The Court

             did not apply VJRA preclusion to separate claims challenging “VA’s proce-

             dures for filing and handling benefits claims,” reasoning that adjudicating

             those claims would not require a court “to review ‘decisions’ affecting the

             provision of benefits to any individual claimants.” Id. at 1034.

                    As the district court explained in Valentini, VCS makes clear that the

             VJRA bars jurisdiction over plaintiffs’ Rehabilitation Act claims against VA.

             The Valentini court recognized that it could not determine whether support-

             ive housing “is needed to give veterans meaningful access to their disability

             benefits” without “a review and analysis of individual veterans’ situations.”

             Valentini II, 2012 WL 12882704, at *4. It noted that “an individual veteran

                                                    - 24 -
(34 of 79), Page 34 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 34 of 79




             would … be precluded from arguing that the failure to provide him or her

             specifically with permanent supportive housing results in denial of mean-

             ingful access to benefits.” Id. And VCS teaches that “[p]laintiffs cannot

             avoid this jurisdictional problem by joining together and challenging the

             ‘system.’” Id.

                    B.      The district court erred in rejecting the Valentini court’s conclu-

             sion that the VJRA bars plaintiffs’ Rehabilitation Act claims against VA.

                    1.      The district court reasoned that the VJRA does not bar plaintiffs’

             claims because the housing plaintiffs seek is not “a benefit.” 1-ER-235. But

             that is beside the point: VA’s determinations of what accommodations a

             Veteran needs to access benefits are determinations “‘that relate to benefits

             decisions,’” VCS, 678 F.3d at 1025, whether or not they are themselves “ben-

             efits decisions.” Indeed, as VCS explains, a principal aim of the VJRA was

             to overrule Traynor v. Turnage, 485 U.S. 535 (1988), which had held that fed-

             eral courts could review a claim that “VA’s regulations conflicted with § 504

             of the Rehabilitation Act.” VCS, 678 F.3d at 1021. The district court’s inter-

             pretation of the VJRA would allow exactly the sort of judicial review that

             Congress enacted the VJRA to foreclose.




                                                     - 25 -
(35 of 79), Page 35 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 35 of 79




                    2.      The district court further reasoned that the VJRA bars review of

             only those issues the VA Secretary has actually “considered and decided.”

             1-ER-236–237. Because Veterans never asserted the need for supportive

             housing “at any benefits hearing or any other proceeding before the agency,”

             the court believed, “that issue cannot be deemed ‘necessary to a decision by

             the Secretary.’” 1-ER-236.

                    That reasoning conflicts with VCS. This Court’s rationale there was

             not that VA had actually decided, in individual cases, how much delay to

             impose. It was that determining the delays’ reasonableness would require

             “review[ing] the circumstances surrounding the VA’s provision of benefits

             to individual veterans,” 678 F.3d at 1027. Plaintiffs’ claims here likewise re-

             quire determining whether Veterans have meaningful access to benefits and,

             if not, what accommodations they need.

                    The district court’s logic would subvert the VJRA’s creation of an “ex-

             clusive review mechanism,” VCS, 678 F.3d at 1033. Under the court’s rea-

             soning, a plaintiff could evade the VJRA’s “exclusive” scheme by choosing

             not to participate in it; a federal court would have jurisdiction over issues

             the plaintiff failed to raise with VA because VA would not have “considered

             and decided” those issues, 1-ER-236. But like other statutory schemes that

                                                     - 26 -
(36 of 79), Page 36 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 36 of 79




             channel particular types of claims through specialized mechanisms of ad-

             ministrative and judicial review, the VJRA scheme is mandatory, not op-

             tional. Cf. Elgin v. Department of the Treasury, 567 U.S. 1, 11 (2012) (Civil Ser-

             vice Reform Act); Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207-209 (1994)

             (Federal Mine Safety and Health Amendments Act).

                    The district court’s conclusion draws no support from the D.C. Cir-

             cuit’s decision in Broudy v. Mather, 460 F.3d 106 (D.C. Cir. 2006). The claim

             there was that the Department of Defense had improperly withheld infor-

             mation about the plaintiffs’ exposure to radiation, leaving VA to make disa-

             bility determinations with inaccurate or incomplete information. The D.C.

             Circuit held that the VJRA did not bar jurisdiction because the VA Secretary

             had not “made an ‘actual decision’ on any issues that the parties [were] ask-

             ing the District Court to decide.” Id. at 114. But that conclusion—in a case

             based on the allegedly unlawful withholding of information by a different

             agency—is inapposite here, where plaintiffs challenge VA’s own determina-

             tions related to providing Veterans with healthcare. If Broudy meant what

             the district court believed, this Court would not have cited it favorably in

             VCS, 678 F.3d at 1024-1026, while reaching a conclusion inconsistent with

             the district court’s interpretation of it.

                                                    - 27 -
(37 of 79), Page 37 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 37 of 79




                    3.      The district court also reasoned that “the Rehabilitation Act is a

             generally applicable anti-discrimination statute” and that “Article III courts

             appear to be better equipped” than VA “to adjudicate” claims under it. 1-

             ER-237. That misunderstands both the VJRA and the Rehabilitation Act.

                    First, as discussed above, a principal aim of the VJRA was to overrule

             Traynor’s holding that federal courts could review a claim that “VA’s regu-

             lations conflicted with § 504 of the Rehabilitation Act.” VCS, 678 F.3d at

             1021. Congress enacted the VJRA precisely to clarify that VA, not federal

             courts, should address in the first instance how the Rehabilitation Act affects

             VA programs.

                    Second, even outside the VJRA context, Congress envisioned that fed-

             eral agencies would review Rehabilitation Act complaints against them in

             the first instance. That is clear from the Rehabilitation Act’s text and history.

             As originally enacted, § 504 of the Act did not apply to federal programs; it

             was limited to “program[s] or activit[ies] receiving Federal financial assis-

             tance.” Rehabilitation Act of 1973, Pub. L. No. 93-112, tit. V, § 504, 87 Stat.

             355, 394. Congress amended it to extend to “any program or activity con-

             ducted by any Executive agency.” Rehabilitation, Comprehensive Services,

             and Developmental Disabilities Amendments of 1978, Pub. L. No. 95-602, tit.

                                                     - 28 -
(38 of 79), Page 38 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 38 of 79




             I, § 119(2), 92 Stat. 2955, 2982. But in doing so, Congress did not create an

             express cause of action for § 504 violations by agencies acting in their pro-

             grammatic capacities, as opposed to their capacities as providers of federal

             funding. See id. § 120, 92 Stat. at 2982-2984 (codified at 29 U.S.C. § 794a) (cre-

             ating a cause of action only for § 504 violations by “recipient[s] of Federal

             assistance or Federal provider[s] of such assistance”).

                    Instead, in the provision extending § 504 to programs and activities

             “conducted by any Executive agency,” Congress directed agencies to “prom-

             ulgate such regulations as may be necessary to carry out the amendments.”

             Id. § 119(2), 92 Stat. at 2982. By doing so, Congress made clear that “agencies

             themselves should take primary responsibility for compliance.” J.L. v. Social

             Sec. Admin., 971 F.2d 260, 265 (9th Cir. 1992), abrogated on other grounds by

             Lane v. Pena, 518 U.S. 187 (1996). Federal courts can review an agency’s ad-

             judication of a § 504 complaint against its programs or activities in the same

             manner as they review other actions by the agency.

                    The district court was thus incorrect to believe that Rehabilitation Act

             complaints against an agency are ill-suited to review by the agency in the

             first instance. Requiring administrative presentation of Rehabilitation Act

             complaints against federal agencies, as Congress intended, does not neuter

                                                    - 29 -
(39 of 79), Page 39 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 39 of 79




             the Act or prevent judicial review. It simply defers judicial review until the

             agency has had an opportunity to bring its programs into compliance or ex-

             plain why it believes they are compliant.2

                    4.      Finally, the district court believed that plaintiffs’ claims would

             fall within “a jurisdictional void” if barred by the VJRA. 1-ER-238. That is

             incorrect. Plaintiffs’ claim that they need housing to access their benefits is

             effectively a claim that their benefits are presently inadequate. If a Veteran

             raised such a claim with VA and VA denied it, that decision would be re-

             viewable by the Board of Veterans’ Appeals—which has jurisdiction over


                    2 Because Congress expressly provided a cause of action against recip-

             ients of federal assistance and federal agencies in their funding capacities,
             but not against agencies in their programmatic capacities, most courts have
             concluded that plaintiffs lack a private right of action to enforce § 504 against
             violations by an agency in its programmatic capacity. See Moya v. DHS, 975
             F.3d 120, 128 (2d Cir. 2020); Clark v. Skinner, 937 F.2d 123, 125 (4th Cir. 1991);
             Cousins v. Secretary of the U.S. Dep’t of Transp., 880 F.2d 603, 605-611 (1st Cir.
             1989) (en banc) (Breyer, J.); see also, e.g., Sai v. DHS, 149 F. Supp. 3d 99, 111-
             115 (D.D.C. 2015). This is the only court of appeals to have reached a differ-
             ent conclusion, see Doe v. Attorney General, 941 F.2d 780, 794 (9th Cir. 1991),
             abrogated on other grounds by Lane v. Pena, 518 U.S. 187 (1996), although this
             Court has required that certain § 504 claims be exhausted before the agency
             before being brought in federal court, see J.L., 971 F.2d at 265-272. In an ap-
             propriate case, this Court should reconsider its holding that § 504 implies a
             private right of action for claims against federal agencies in their program-
             matic capacities, as opposed to being enforceable through administrative
             proceedings with subsequent judicial review. But here, the VJRA inde-
             pendently precludes plaintiffs’ § 504 claim.

                                                     - 30 -
(40 of 79), Page 40 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 40 of 79




             “[a]ll questions in a matter which under [§ 511(a)] is subject to decision by

             the Secretary,” 38 U.S.C. § 7104(a)—and in turn by the Veterans Court, the

             Federal Circuit, and the Supreme Court, see supra p. 23.

                    The Veterans Court’s decision in Camacho v. Nicholson, 21 Vet. App. 360

             (2007), on which the district court relied, 1-ER-239, is not to the contrary. It

             held that “a decision by the appellant’s employer to disqualify him from

             driving” did not “constitute[] a ‘regulation of [his] activities’” for benefits

             purposes because the disqualification was not “medically necessary.” 21

             Vet. App. at 361. The court noted that the applicant might have a Rehabili-

             tation Act claim against his employer—which happened to be VA—but that

             it would “lie[] elsewhere,” not in the VJRA framework. Id. at 366. In stating

             that neither it nor the Board of Veterans Appeals could hear “actions brought

             under” the Rehabilitation Act, id., the Veterans Court was thus referring to

             actions against employers, not to claims that VA is violating the Rehabilita-

             tion Act in providing benefits.

                    The district court also erred in believing plaintiffs could not obtain ap-

             propriate relief through the VJRA scheme. If a Veteran raised through VA a

             claim that he needed supportive housing to access his VA benefits, VA

             would either provide that housing or determine that it was not authorized

                                                    - 31 -
(41 of 79), Page 41 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 41 of 79




             or required—and if VA made the latter determination erroneously, a court

             reviewing its action through the VJRA framework could hold as much and

             remand for VA to grant the request. The Federal Circuit’s decision in Burris

             v. Wilkie, 888 F.3d 1352 (Fed. Cir. 2018), is irrelevant. The holding there was

             that the Veterans Court cannot order VA to provide, “on equitable grounds,

             monetary relief” not authorized by “substantive statutory law.” Id. at 1359.

             That holding hardly implies that the Veterans Court cannot require VA to

             comply with its statutory obligations.

                    In sum, the district court erred in concluding that it had jurisdiction

             over plaintiffs’ Rehabilitation Act claims against VA. The VJRA required

             that plaintiffs bring those claims through VA, with judicial review in the Vet-

             erans Court and the Federal Circuit.

             II.    The District Court Erred In Certifying A Class For Plaintiffs’
                    Claims Seeking Housing From VA

                    The district court similarly erred in certifying a class for plaintiffs’ Re-

             habilitation Act claims seeking housing from VA.3




                    3 The Court need not address this issue if it concludes that the VJRA

             bars plaintiffs’ Rehabilitation Act claims against VA, since the VJRA-barred
             claims include all those as to which class treatment was improper.

                                                    - 32 -
(42 of 79), Page 42 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 42 of 79




                    “The class action is ‘an exception to the usual rule that litigation is con-

             ducted by and on behalf of the individual named parties only.’” Wal-Mart

             Stores, Inc. v. Dukes, 564 U.S. 338, 348 (2011). Among the requirements for

             invoking that exception is “commonality”—the requirement that “class

             members ‘have suffered the same injury,’” not “merely … a violation of the

             same provision of law.” Id. at 349-350. To satisfy that requirement, claims

             must “depend upon a common contention … of such a nature that it is capa-

             ble of classwide resolution,” meaning “that determination of its truth or fal-

             sity will resolve an issue that is central to the validity of each one of the

             claims in one stroke.” Id. at 350.

                    That requirement can be satisfied for Rehabilitation Act claims where

             the challenged policies, practices, or omissions affect class members in a

             common way. For example, we do not dispute in this appeal that it is satis-

             fied for plaintiffs’ claim that the Rehabilitation Act bars the treatment of dis-

             ability benefits as income for purposes of housing eligibility.

                    The commonality requirement is not satisfied, however, for plaintiffs’

             claims that (1) VA deprived them of meaningful access to healthcare benefits

             by not providing on-Campus supportive housing and (2) their lack of access

             to those benefits placed them at a serious risk of not receiving services in

                                                    - 33 -
(43 of 79), Page 43 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 43 of 79




             “‘the most integrated setting appropriate to [their] needs,’” Olmstead, 527

             U.S. at 592. As discussed above, those claims turn on Veterans’ individual

             circumstances—their particular disabilities, their particular healthcare

             needs, the particular locations in which they reside, the particular obstacles

             they face in traveling to Campus to receive care, and what particular accom-

             modations would allow them to access on-Campus services. See, e.g., Mark

             H. v. Hamamoto, 620 F.3d 1090, 1098 (9th Cir. 2010) (reasonableness of accom-

             modation “‘depends on … individual circumstances’” and requires “‘fact-

             specific’” analysis).

                    That is underscored by the district court’s analysis of the claims. For

             example, the court referred repeatedly to plaintiff Laurieann Wright, who

             suffers from “PTSD related to sexual assault she experienced during her mil-

             itary service” and from “extensive physical disabilities and medical condi-

             tions,” including “osteoporosis” and “a neck injury.” 1-ER-53–54; see 1-ER-

             76; 1-ER-87. Ms. Wright’s challenges in obtaining on-Campus healthcare are

             not general to the plaintiff class; rather, they stem from the location of her

             current home (“approximately 65 miles away” from Campus) and from the

             fact that her particular physical disabilities make it “excruciating” to “sit[]

             for hours in traffic or on the train” to commute that distance. 1-ER-53–54.

                                                    - 34 -
(44 of 79), Page 44 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 44 of 79




             Whether Ms. Wright has meaningful access to her on-Campus benefits—

             and, if not, what accommodations might be reasonably necessary to give her

             access—turns on those individual circumstances.

                    By contrast, four of the other five named plaintiffs—Jeffrey Powers,

             Joseph Fields, Lavon Johnson, and Joshua Robert Pettit—already live on

             Campus. 10-ER-2247; 17-ER-4278; 17-ER-4306; 18-ER-4537. And the fifth,

             Deavin Sessom, resides (at least as of a year ago) in “the Brentwood neigh-

             borhood,” 7-ER-1486, within a mile of Campus, 7-ER-1451. The analysis of

             whether those plaintiffs have access to on-Campus services is completely

             different from the analysis for Ms. Wright. And even for a plaintiff who

             lived as far away as Ms. Wright, the analysis would be completely different

             if the plaintiff did not have physical disabilities that make it hard to com-

             mute long distances. A plaintiff in that situation, for example, might be able

             to access the Campus with the help of VA’s Beneficiary Travel program or

             Veterans Transportation Service. See 38 U.S.C. §§ 111, 111A; 38 C.F.R. pt. 70.

                    In finding the commonality requirement satisfied, the district court

             reasoned that “the issue of whether Federal Defendants’ policies and prac-

             tices systematically deprive Plaintiffs of access to permanent supportive

             housing on the [Campus] does not require individualized determinations

                                                    - 35 -
(45 of 79), Page 45 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 45 of 79




             and can be resolved on a classwide basis.” 1-ER-210. But the question here

             is not whether plaintiffs are “deprive[d] … of access to permanent support-

             ive housing,” id. Rather, the relevant questions are whether the lack of such

             housing deprives plaintiffs of meaningful access to their on-Campus

             healthcare benefits and, by doing so, places them at a serious risk of not re-

             ceiving services in “‘the most integrated setting appropriate to [their]

             needs,’” Olmstead, 527 U.S. at 592. Those questions cannot be answered “in

             one stroke,” Wal-Mart, 564 U.S. at 350, because the analysis of meaningful

             access in this case depends in significant respects on plaintiffs’ individual

             circumstances.

             III.   The District Court Erred On The Merits Of The Rehabilitation
                    Act Claims

                    The record also did not support the district court’s rulings on the mer-

             its of the Rehabilitation Act claims or the relief the court entered.

                    A.      The District Court Erred In Analyzing The Olmstead
                            Claim

                    Plaintiffs’ first claim rests on Olmstead’s holding that “unjustified insti-

             tutional isolation of persons with disabilities is a form of discrimination,”

             527 U.S. at 600, and this Court’s holding that plaintiffs can prevail on an

             Olmstead claim by “show[ing] that the challenged state action creates a


                                                     - 36 -
(46 of 79), Page 46 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 46 of 79




             serious risk of institutionalization,” M.R. v. Dreyfus, 697 F.3d 706, 734 (9th

             Cir. 2012). Under Olmstead, public entities can be “required to provide com-

             munity-based treatment,” rather than treatment in segregated institutional

             settings, for persons with disabilities. 527 U.S. at 607; see 38 C.F.R. § 15.130(d)

             (requiring VA to “administer programs and activities in the most integrated

             setting appropriate to the needs of qualified individuals with” disabilities).

             In Olmstead itself, for example, the plaintiffs had been institutionalized for

             the treatment of mental-health disabilities and sought treatment in commu-

             nity-based settings instead. 527 U.S. at 593-594. Supportive housing can be

             one means of allowing persons with disabilities to receive services “‘in the

             most integrated setting appropriate’” to their needs, id. at 591-592.

                    But Olmstead does not require public entities to “provide a certain level

             of benefits to individuals with disabilities,” Olmstead, 527 U.S. at 603 n.14, or

             “to create new programs that provide heretofore unprovided services to as-

             sist disabled persons,” Townsend v. Quasim, 328 F.3d 511, 518 (9th Cir. 2003).

             Rather, Olmstead requires that, when public entities do provide services, they

             do so in a manner that “avoid[s] unjustified isolation of individuals with

             disabilities” or a serious risk of such isolation. 527 U.S. at 597; see Townsend,

             328 F.3d at 518 (“[E]ntities are required only to make reasonable changes in

                                                    - 37 -
(47 of 79), Page 47 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 47 of 79




             existing policies in order to accommodate individuals’ disabilities.” (empha-

             ses added and omitted)).

                    Here, then, the relevant question is whether VA’s administration of its

             healthcare services created a serious risk of any unjustified institutionaliza-

             tion of persons with disabilities. The district court did not find that it did,

             and the record would not support such a finding. Rather, the court’s con-

             clusion that VA “places unhoused veterans at risk of institutionalization,” 1-

             ER-81, and the findings underlying that conclusion, 1-ER-129 ¶¶ 43-44; 1-ER-

             160 ¶ 206, rested on testimony showing that homelessness may place Veterans

             at risk of being hospitalized or jailed. The testimony showed that many

             “people experiencing homelessness will end up utilizing the emergency

             room for routine healthcare,” that “they can eventually be hospitalized” for

             conditions that might have been prevented or better treated if they had hous-

             ing, and that “[t]hey can end up in jails and prisons and treatment pro-

             grams,” including if their mental-health needs are inadequately treated else-

             where. 10-ER-2143–2144; see 15-ER-3727. Plaintiff Joseph Fields, for exam-

             ple, testified that during a period of housing instability he suffered a back

             injury while bicycling in downtown Los Angeles; that that injury led to “[o]n

             and off” hospitalizations; that while homeless he had “encounters with law

                                                    - 38 -
(48 of 79), Page 48 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 48 of 79




             enforcement” who would “periodically sweep the sidewalk”; that he ac-

             quired an infection from living in an unclean environment on the streets; that

             he was arrested “[a] couple of times” for things like “tickets”; and that he

             spent “[a] little bit” of time in jail. 18-ER-4543–4546; 18-ER-4551; see 18-ER-

             4621–4623 (similar testimony from Laurieann Wright).

                    These are lamentable circumstances, and it is sound public policy to

             try to mitigate them, including by promoting greater access to housing. See

             27-ER-6935–6939 (supportive housing is “cost effective”). That is one reason

             VA makes extensive efforts to provide housing options for Veterans.

                    But Olmstead does not impose a freestanding obligation for VA to ad-

             dress every possible reason—beyond its administration of the healthcare

             benefits it provides—that a Veteran could end up in a hospital or jail. Rather,

             Olmstead establishes that, when VA provides services to people with disabil-

             ities, it must do so in integrated settings rather than segregated institutions

             when possible. And here, the record fails to establish any connection be-

             tween VA’s operation of its healthcare services and a serious risk of any “un-

             justified isolation,” Olmstead, 527 U.S. at 597, of plaintiffs. Even assuming

             Mr. Fields’s hospitalizations or jail stints would constitute institutionaliza-

             tions within the meaning of Olmstead, nothing in his testimony attributed his

                                                    - 39 -
(49 of 79), Page 49 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 49 of 79




             hospitalizations or jail stints to any difficulty in accessing VA services on the

             Campus. See 18-ER-4543–4546; 18-ER-4551. Nor did Ms. Wright’s testi-

             mony, 18-ER-4621–4623, or the other testimony on which the district court

             relied, 10-ER-2143–2144; 15-ER-3727, articulate such a connection.

                    The district court appeared to believe that because VA provides certain

             services for Veterans, and because Veterans are likelier to be hospitalized or

             jailed if unhoused than if housed, VA is required to house them—even if the

             harms they suffer when unhoused are unrelated to the manner in which VA

             provides its services. But there is no basis for that capacious reading of

             Olmstead, and it would have radical implications extending well beyond VA.

             If it were correct, then VA—and all other public entities that provide certain

             services to certain populations—might be required to expand their programs

             to provide any and all services that could help prevent hospitalizations or

             jail stints, even if they were not discriminating based on disability in the pro-

             vision of their existing services. That risk could deter public entities, which

             face severe resource constraints, from providing certain services at all.

                    Moreover, it is unclear how the district court’s application of Olmstead

             would serve the interests Olmstead protects, because Veterans with disabili-

             ties would arguably be more segregated from the broader community, not

                                                    - 40 -
(50 of 79), Page 50 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 50 of 79




             less, if they lived together in an enclave of on-Campus supportive housing.

             At trial, a VA official explained that concentrating thousands of Veterans

             with disabilities on the Campus would be “re-institutionalizing” them—res-

             urrecting an era when “large numbers of people liv[ed] on hospital grounds

             because … it let the community avoid any responsibility for them”—rather

             than “giving [them] an honest opportunity to live their full life, integrated

             into the community,” by providing them with a range of housing options on

             the Campus and elsewhere. 12-ER-2737.

                    Finally, even aside from the error of the district court’s judgment

             against VA, the court manifestly erred in entering judgment on this claim

             against HUD, see 1-ER-22–23, because HUD had nothing to do with the vio-

             lations the court identified.

                    B.      The District Court Erred In Analyzing The Meaningful-
                            Access Claim

                    The record equally fails to justify the district court’s conclusion that a

             lack of on-Campus supportive housing deprives plaintiffs of “meaningful

             access to” their VA healthcare benefits, 1-ER-81. The findings underlying

             that conclusion, 1-ER-123–124 ¶¶ 17-19, rested on testimony establishing that

             Veterans can more easily access healthcare facilities when they live nearby.



                                                     - 41 -
(51 of 79), Page 51 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 51 of 79




             For example, plaintiff Jeffrey Powers, who lives on Campus, testified that

             living there would make it “convenient” to access treatment there (though

             he is not currently receiving treatment there). 10-ER-2247–2248. Plaintiff

             Lavon Johnson, who likewise lives on Campus, testified that living there has

             made it easy for his healthcare providers to “find [him].” 17-ER-4332–4333.

             And Michael Dennis, a HUD employee, testified that HUD had made policy

             changes in view of “the need for … veterans to be close” to services. 15-ER-

             3646; see 15-ER-3626–3627; see also 15-ER-3729 (testimony of Dr. Jonathan

             Sherin that “having a stable environment where someone can … get to a

             clinic and return[] is fundamental to health”).

                    But the undisputed fact that it is easier for Veterans to access on-Cam-

             pus services when they live on Campus does not mean Veterans lack mean-

             ingful access to on-Campus services when they live elsewhere, with or with-

             out housing. As discussed above, the meaningful-access issues in this case

             turn on Veterans’ individual circumstances. Laurieann Wright, who lives

             far from Campus and whose physical disabilities make it difficult to travel,

             could be understood to lack meaningful access to on-Campus services. That

             would be the starting point for an “‘individualized’” determination of what

             “‘accommodations … might allow’” her meaningful access. Mark H., 620

                                                    - 42 -
(52 of 79), Page 52 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 52 of 79




             F.3d at 1098. VA contests none of this; indeed, VA’s draft Master Plan for

             the Campus recognized that, “[d]epending on the acuity of” a particular Vet-

             eran’s conditions, “the stress associated with traveling to” Campus could

             “be an insurmountable barrier” to treatment there. 27-ER-6724; see 19-ER-

             4794 (similar testimony from VA official). And if Ms. Wright had submitted

             her Rehabilitation Act claim through the proper administrative channels, VA

             could have determined what if any accommodations it needed to provide.

                    But the district court made no attempt to limit its finding of a Rehabil-

             itation Act violation, or the relief it entered, to any plaintiffs who might ex-

             perience those sorts of individualized barriers to meaningful access. Nor did

             the court make any attempt to discern what proportion of plaintiffs might

             lack meaningful access to Campus because of their individual circum-

             stances, notwithstanding the transportation services that are available, see

             supra p. 35, or to determine whether that proportion was sufficiently great

             as to justify some sort of systemic relief. Cf. Lewis v. Casey, 518 U.S. 343, 359

             (1996) (propriety of “systemwide relief” for violations of incarcerated per-

             sons’ constitutional rights turned on whether the violations were sufficiently

             “widespread”). And the court did not attempt to explain why Veterans

             would be “impeded in their ability to access” on-Campus healthcare simply

                                                    - 43 -
(53 of 79), Page 53 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 53 of 79




             because they are “unhoused,” 1-ER-124—a finding at odds with the court’s

             later observation, in denying a stay pending appeal, that many unhoused

             Veterans have situated themselves near the Campus precisely to facilitate

             their access to services there, 2-ER-276.

                    The district court thus erred in analyzing the meaningful-access claim.

             On a proper understanding of what is required to substantiate a lack of

             meaningful access, the record did not support the district court’s class-wide

             determination that VA is violating the Rehabilitation Act or the class-wide

             relief it entered. And again, even aside from the error of the district court’s

             judgment against VA, the court erred in entering judgment on this claim

             against HUD, 1-ER-22–23, because HUD had nothing to do with the viola-

             tions the court identified.

                    C.      The District Court Erred In Analyzing The Claim Related
                            To Developers’ Income Eligibility Policies

                    The district court further erred in resolving plaintiffs’ claim that the

             Rehabilitation Act precludes VA from leasing land to housing developers if

             the developers count disability benefits as income in determining eligibility

             for the housing.




                                                     - 44 -
(54 of 79), Page 54 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 54 of 79




                     1.     The district court reasoned that if Veterans’ disability benefits

             are counted as income, then Veterans with high disability ratings, who re-

             ceive correspondingly high disability benefits, are less likely to qualify as

             low-income than Veterans with low disability ratings, who receive corre-

             spondingly lower benefits. 1-ER-191–195. The court concluded that the in-

             come cap thus necessarily discriminates based on disability. Id. But there is

             no allegation here that developers treat Veterans who receive their income

             through disability benefits worse than others who receive the same income

             from another source, such as employment. Rather, the income eligibility re-

             strictions in question treat all income equally, regardless of its source. The

             district court’s rationale for concluding that Veterans who receive high dis-

             ability benefits face discrimination based on disability was therefore incor-

             rect.

                     Of course, there are sound public-policy reasons for Veterans to be el-

             igible for subsidized housing even when they receive significant disability

             benefits. That is why, during trial, “HUD announced a policy change” to

             “exclude[] veterans’ service-connected disability benefits when determining

             eligibility” for the HUD-Veterans Affairs Supportive Housing (HUD-VASH)

             program—a change plaintiffs had sought. 1-ER-68; see 89 Fed. Reg. 65769

                                                     - 45 -
(55 of 79), Page 55 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 55 of 79




             (Aug. 13, 2024). And it is why, shortly after trial, the Treasury Department

             decided no longer to include service-connected disability benefits when de-

             termining eligibility for housing financed by the Low-Income Housing Tax

             Credit. Rev. Proc. 2024-38, 2024-43 I.R.B. 1010 (4-ER-945–952). In light of

             these changes, and a similar change in California law, see Cal. Mil. & Vet.

             Code § 987.005(h), amended by A.B. 535 (Cal. 2024), it is unclear whether any

             developers will continue to count Veterans’ benefits as income when deter-

             mining their eligibility for housing. And at a minimum, the changes have

             mooted any claim for injunctive relief against HUD.

                    2.      Even if the district court were correct that the Rehabilitation Act

             bars VA from leasing to developers who count Veterans’ benefits toward

             income eligibility caps, the court further erred in the relief it entered. Rather

             than simply ordering VA to refrain from leasing to such developers, the

             court ordered VA to build housing itself if it could not find developers will-

             ing to refrain from discrimination. 1-ER-89–90.

                    That remedy exceeds the scope of the Rehabilitation Act. To be sure,

             the Act prohibits VA from providing services by contracting with outside

             entities that discriminate based on disability. See 38 C.F.R. § 15.130(b)(1).

             Thus, if Congress had required VA to provide supportive housing on the

                                                     - 46 -
(56 of 79), Page 56 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 56 of 79




             Campus, the Act could require VA to satisfy the housing obligation on its

             own, rather than outsourcing it to contractors who engage in discrimination,

             if it could not find contractors willing to perform the function without en-

             gaging in discrimination. But Congress has not directed VA to construct,

             maintain, and operate supportive housing on the Campus. Congress has

             simply given VA the option of leasing Campus property to developers for

             the purpose of their “providing supportive housing.” Leasing Act § 2(a)-(b),

             130 Stat. at 926. That is for good reason: VA “has no experience in building

             housing,” whereas developers have extensive expertise in financing, con-

             structing, and operating housing. 19-ER-4847; see 19-ER-4960–4964. Thus,

             even if the Rehabilitation Act could justify an order forbidding VA from leas-

             ing Campus land to developers, it cannot justify a requirement that VA un-

             dertake on its own the function that would otherwise have been performed

             by the developers.

                    D.      The District Court Erred In Granting Relief That Would
                            Fundamentally Alter VA’s Programs

                    As the Supreme Court explained in Alexander v. Choate, 469 U.S. 287

             (1985), “[a]ny interpretation of § 504 must … be responsive to two powerful

             but countervailing considerations—the need to give effect to the statutory



                                                     - 47 -
(57 of 79), Page 57 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 57 of 79




             objectives and the desire to keep § 504 within manageable bounds.” Id. at

             299. Given the latter objective, the Court explained, “a ‘fundamental altera-

             tion in the nature of a program’” is “far more than the reasonable modifica-

             tions” that § 504 requires. Id. at 300. And in the Olmstead context, this Court

             and the Supreme Court have likewise recognized that the government “must

             enjoy a certain measure of leeway ‘to administer services with an even hand’

             among its citizenry,” rather than being compelled to focus limited resources

             on a certain population to the harm of “‘others with mental disabilities.’”

             Townsend, 328 F.3d at 519-520 (quoting Olmstead, 527 U.S. at 605, 607).

             “[C]ourts evaluating fundamental alteration defenses” therefore “must take

             into account financial and other logistical limitations on a” public entity’s

             “capacity to provide integrated services to the disabled.” Id. at 519.

                    The district court’s order for VA to construct extensive on-Campus

             housing—1,800 units of permanent supportive housing beyond those con-

             templated by the Master Plan, plus 750 temporary units—contravenes these

             principles. It would fundamentally alter VA’s approach to housing Veterans

             in the Los Angeles area, undermining VA’s ability to serve that community,

             including its many members with disabilities, in the way VA thinks is best.




                                                    - 48 -
(58 of 79), Page 58 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 58 of 79




                    VAGLAHS’s Deputy Medical Director, John Kuhn—who has vast ex-

             perience supporting homeless Veterans at VA and elsewhere, see, e.g., 12-ER-

             2635–2639—explained that VA strives to provide Veterans not just with one

             type of housing in one location but with a range of housing options in vari-

             ous locations, to accommodate their diverse needs and preferences. 12-ER-

             2719–2720; see 27-ER-6996 (HUD-VASH program prioritizes “[s]cattered site

             housing” and “[c]lient choice and self-determination”). VA believes that

             Veterans who are “‘placed’ in a setting that does not meet their needs or

             preferences … are not likely to succeed,” 27-ER-7002, and that Veterans must

             be “integrated into the community,” 12-ER-2737; see 27-ER-7003.

                    But the district court’s order would impose exorbitant costs on VA,

             forcing it to focus its scarce resources on providing a single type of housing

             in a single location for Veterans with particular disabilities. 12-ER-2720–

             2721. That would harm the community of Veterans that VA serves, includ-

             ing those with disabilities. It would create an expectation that Veterans with

             serious mental illnesses or traumatic brain injuries should be housed on the

             Campus, limiting their ability to choose among other appropriate settings.

             12-ER-2720. And by concentrating them on the Campus, it would under-

             mine their integration into the broader community. 12-ER-2734–2737.

                                                    - 49 -
(59 of 79), Page 59 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 59 of 79




                    The district court barely considered VA’s evidence on this point. In a

             few sentences, it appeared to cast doubt on whether building additional on-

             Campus housing would require VA to cut spending on other housing pro-

             grams. The court opined that a $100 million price tag for temporary housing

             was “not unreasonable in the light of the VA’s overall annual budget of ap-

             proximately $407 billion” and that the “costs of permanent supportive hous-

             ing [were] not unreasonable” because they would “be spread out over” six

             years” under the terms of the injunction. 1-ER-84–85. But that analysis mis-

             understands Rehabilitation Act doctrine and budget realities.

                    As to the doctrine, the relevant question is not whether the cost of an

             accommodation is in some abstract sense “reasonable”; it is whether the ac-

             commodation will require a fundamental alteration to the program, whether

             because of its cost or otherwise. As noted above, it is well established that

             “courts evaluating fundamental alteration defenses must take into account

             financial … limitations,” as well as other limitations, on the government’s

             “capacity to provide integrated services to the disabled.” Townsend, 328 F.3d

             at 519. Courts cannot simply assume the availability of additional funds and

             opine on whether the hypothetical amount of additional funds would be

             “unreasonable” in the abstract.

                                                    - 50 -
(60 of 79), Page 60 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 60 of 79




                    And as to budget realities, the district court was seriously mistaken to

             the extent it believed VA could absorb hundreds of millions of dollars in

             additional housing costs without diverting resources from elsewhere. VA’s

             budget is barely sufficient to fund its programs, including benefits for mil-

             lions of Veterans and the salaries of nearly half a million employees at hun-

             dreds of medical facilities, benefits offices, and cemeteries nationwide. And

             as discussed above (at 9, 46-47), the Leasing Act makes clear that Congress

             did not expect VA to pay for the construction of on-Campus housing; rather,

             it authorized VA to lease land to developers who would finance the housing.

             In ordering VA to construct such a massive quantity of permanent support-

             ive housing regardless of its ability to find developers willing to finance the

             projects, 1-ER-89–90—and to construct temporary housing that cannot be de-

             veloper-financed—the district court appears to have assumed the availabil-

             ity of funding that Congress did not provide.

                    Aside from its broader distortion of VA’s housing strategy, the district

             court’s order would cause the Campus to become less hospitable for Veter-

             ans with disabilities who reside there. Mr. Kuhn testified that no “reputable

             provider of services … would” think it is “a good idea” to “cluster[]” several

             thousand supportive housing units “in one area,” including because such a

                                                    - 51 -
(61 of 79), Page 61 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 61 of 79




             large concentration of people with significant mental-health needs would

             likely result in “an alarming number of behavioral health incidents,” “fre-

             quent mental health crises,” and “widespread substance abuse disorders.”

             12-ER-2733. Such a community would not be “safe,” Mr. Kuhn testified, un-

             less it were made “to look like an armed camp.” Id. The district court’s order

             would thus “recreate an environment that … many veterans are trying to get

             away from, where they are going to be traumatized, where they are not go-

             ing to feel safe, [and] where they are going to be fearful.” Id.

                    Aside from dismissing the costs it was imposing, the district court’s

             only response to VA’s fundamental-alteration defense was to state that be-

             cause VA “already administer[s] the creation of housing on and near” the

             Campus, “[i]ncreasing the quantity and speed at which housing is provided

             to veterans with disabilities is not a fundamental alteration of [its] program.”

             1-ER-84. But that response misses the point. It seems to assume VA’s objec-

             tion is to the construction of any housing on or near the Campus. But VA’s

             Master Plan for the Campus already provides for the construction of 1,200

             units of supportive housing. Nor is the “speed” of construction the main

             concern; VA has every interest in fulfilling the Master Plan as soon as prac-

             ticable. Rather, as discussed above, the problem is that “[i]ncreasing the

                                                    - 52 -
(62 of 79), Page 62 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 62 of 79




             quantity” of housing on Campus would harm Veterans with disabilities and

             VA’s programs for them, both by altering the nature of the Campus commu-

             nity and by limiting other housing options.

             IV.    The District Court Erred In Its Charitable-Trust Ruling

                    The district court equally erred in holding that VA incurred enforcea-

             ble trust obligations under the 1888 deed for the Campus.

                    A.      Plaintiffs Lack Standing To Assert Their Trust Claims

                    As an initial matter, plaintiffs lack standing to enforce the asserted

             trust. The “general rule” is that “no private citizen can sue to enforce a char-

             itable trust merely on the ground that he believes he is within the class to be

             benefited by the trust[.]” Bogert et al., Bogert’s The Law of Trusts and Trustees

             (Bogert’s) § 414 (Westlaw, updated July 2024); see Restatement (Third) of Trusts

             § 94 cmt. g (2012). The beneficiary of a charitable trust is the public, not “the

             particular human beings” who are the “conduits of [the trust’s] social bene-

             fits to the public.” Bogert’s § 363. For that reason, the Attorney General of

             the jurisdiction under whose law a charitable trust is created—the legal rep-

             resentative of the public—is generally the proper plaintiff to enforce the trust

             obligation. Id. § 411; see Restatement (Third) of Trusts § 94(2). Although this

             rule originates in the common law, it has constitutional significance because


                                                     - 53 -
(63 of 79), Page 63 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 63 of 79




             Article III jurisdiction is limited to the sorts of particularized “harm tradi-

             tionally recognized as providing a basis for a lawsuit in American courts.”

             TransUnion LLC v. Ramirez, 594 U.S. 413, 427 (2021); see also Pinkert v. Schwab

             Charitable Fund, 48 F.4th 1051, 1058 (9th Cir. 2022) (Bress, J., concurring in

             part and in the judgment) (“[a]lthough the common law did not always use

             the modern terminology of Article III standing,” a common-law rule related

             to the one here was “grounded in [a] basic Article III insight”).

                    Some courts have recognized an exception to this rule where the “class

             of potential beneficiaries” of a charitable trust “is ‘sharply defined’ and ‘lim-

             ited in number.’” He Depu v. Yahoo! Inc., 950 F.3d 897, 906 (D.C. Cir. 2020)

             (discussing D.C. law); see Restatement (Third) of Trusts § 94 cmt. g(1) (“reason-

             ably limited”). But any such exception is not satisfied here. Any trust cre-

             ated by the 1888 deed would benefit a vast, ill-defined population—roughly

             speaking, all Veterans in the Western United States. It is irrelevant that the

             plaintiff class here is more limited and better defined; what matters is the

             scope and definition of the class of beneficiaries of the asserted trust.




                                                    - 54 -
(64 of 79), Page 64 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 64 of 79




                     B.     The 1888 Deed Did Not Establish A Trust Enforceable
                            Against The Government

                     Even if the district court had jurisdiction, it erred in concluding that

             the deed created a judicially enforceable charitable trust.

                     1.     Like all trusts, a charitable trust is created only if “a testator or

             other transferor manifests an intention to impose enforceable duties on the

             transferee.” Restatement (Third) of Trusts § 13 cmt. d. Statements of purpose

             that “merely … explain the motivation for a bequest” do not create a chari-

             table trust. Id. And although it “is sometimes” unclear “[w]hether a trans-

             feror intended to impose the obligations essential to a trust” or merely “to

             express a nonbinding wish or recommendation,” the default rule is to con-

             strue “precatory language accompanying a transfer” as leaving the trans-

             feree free “to decide whether or not to follow the suggestion.” Id.

                     The district court held that the Campus deed created a trust obligating

             the government to use the Campus in perpetuity for the purposes specified

             in the deed. 1-ER-195–200. But the deed’s language does not “manifest[] an

             intention to impose” that duty, Restatement (Third) of Trusts § 13 cmt. d; it

             merely explains the donors’ motivations. The relevant language is as fol-

             lows:



                                                     - 55 -
(65 of 79), Page 65 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 65 of 79




                           WITNESSETH: That whereas by an act of Congress … to
                    provide for the location and erection of a branch home for disa-
                    bled volunteer soldiers West of the Rocky Mountains, the Board
                    of Managers of the National Home for Disabled Volunteer Sol-
                    diers, were authorized, empowered and directed to locate, estab-
                    lish, construct and permanently maintain a branch of said Na-
                    tional Home … at such place in the States West of the Rocky
                    Mountains as to said Board should appear most desirable and
                    advantageous.

                           And whereas, [the donors] in consideration that [the gov-
                    ernment] should locate, establish, construct and permanently
                    maintain a branch of said National Home … offered to donate to
                    [the government] three hundred acres of land … on which to lo-
                    cate, establish, construct and permanently maintain such branch
                    of said National Home … :

                          Now therefore, in consideration of the premises and of the
                    location, establishment, construction and permanent mainte-
                    nance of a branch of said National Home … on such tract of land
                    … [the donors] have given and granted … the following de-
                    scribed land and premises … for the purpose of such branch
                    Home … to be thereon so located, established, constructed and
                    permanently maintained.

             Farquhar v. United States, 1990 WL 121076, at *1-2 (9th Cir. Aug. 21, 1990)

             (unpublished) (quoting the deed with stylistic alterations); see 7-ER-1439

             (deed). The first paragraph explains that Congress directed the construction

             of a Veterans’ home at a place to be determined, and the second and third

             paragraphs explain that the donors were providing land for the purpose of

             allowing the home to be constructed on that land. This language shows that




                                                    - 56 -
(66 of 79), Page 66 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 66 of 79




             the donors hoped that their gift would be used in perpetuity to support Vet-

             erans, but it does not bind the government to do so.

                    This Court made that clear in Farquhar, which involved this very deed.

             That case addressed the ownership of a two-acre parcel of the original Cam-

             pus that the government had declared “to be surplus property,” and sold to

             a private company, after it “was sliced off from what remained of the origi-

             nal” Campus by the San Diego Freeway. 1990 WL 121076, at *1. The plain-

             tiffs claimed that the land “reverted to them,” and thus could not be sold to

             the company, because the deed created “a condition subsequent” under

             which the government would lose any part of the Campus that it no longer

             used for the purposes specified in the deed. Id. This Court disagreed, ex-

             plaining that “the language of the 1888 deed” is properly understood “as

             creating a covenant or statement of purpose” for the land “rather than a con-

             dition” on its use. Id. at *3. Although the Court did not address a charitable-

             trust theory, its reasoning makes clear that it did not regard the deed as bind-

             ing the government to perpetual obligations.

                    The California Court of Appeal has likewise rejected an argument that

             a nearly identical deed created a charitable trust. In Fletcher v. City of San

             Diego, 2002 WL 31480258 (Cal. Ct. App. Nov. 7, 2002) (unpublished), the

                                                    - 57 -
(67 of 79), Page 67 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 67 of 79




             court addressed a 1921 deed “conveying 135 acres on San Diego Bay” to the

             federal government “‘for the exclusive use of the United States Navy De-

             partment as a site for a Naval Training Station.’” Id. at *1. After the govern-

             ment closed the training center it had long operated on the property, and the

             property was sold to a developer, one of the donors’ heirs sued the govern-

             ment for breach of trust. But the court held that the deed language “merely

             established the grantors’ purpose for making the gift (i.e., that the Navy

             would establish a naval training station on the site); it did not establish with

             reasonable certainty that the grantors intended to impose an imperative ob-

             ligation on the government to maintain the property as a naval training sta-

             tion in perpetuity.” Id. at *3.

                    To be clear, the terms by which donors conveyed land in these cases

             may well have imposed a binding obligation with respect to the initial use of

             the land. That is why the government’s acceptance of these deeds required

             congressional authorization. See Story v. Snyder, 184 F.2d 454, 456 (D.C. Cir.

             1950) (“[G]ifts to the United States which involve any duty, burden, or con-

             dition, or are made dependent upon some future performance by the United

             States, are not accepted by the Government unless by the express authority

             of Congress.”). The government could not accept a donation of land for the

                                                    - 58 -
(68 of 79), Page 68 of 79    Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 68 of 79




             purpose of constructing a Veterans’ home or naval training center and then

             immediately use the land for a different purpose.

                    But in holding that the deeds did not impose perpetual trust obliga-

             tions, Farquhar and Fletcher recognize a significant distinction between the

             government’s initial use of donated land and its use of the same land dec-

             ades later. As the Court explained in Farquhar, the government’s binding

             obligation with respect to the use of the Campus was fully satisfied—i.e.,

             “the grantors” of the Campus “received the benefit they sought by donating”

             it—when “[a] branch home for veterans was constructed on the property,”

             1990 WL 121076, at *3, even though the government much later sold a piece

             of the land that had not been used for the home. The court in Fletcher like-

             wise explained that the government could not be compelled to “maintain the

             property as a naval training station in perpetuity.” 2002 WL 31480258, at *3.

             A contrary rule, binding the government to perpetual trust obligations un-

             der deeds that simply express the donors’ purpose, would give private do-

             nors extraordinary power to dictate government operations even decades or

             centuries after their gifts.

                    2.      Even if the 1888 deed created a charitable trust, that is insuffi-

             cient to make any associated duties judicially enforceable against the

                                                     - 59 -
(69 of 79), Page 69 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 69 of 79




             government. Fiduciary duties are judicially enforceable against the govern-

             ment only when the government unambiguously assumes them and author-

             izes their enforcement. See, e.g., Arizona v. Navajo Nation, 599 U.S. 555, 564

             (2023) (government owes enforceable duties to an Indian Tribe only if “‘it

             expressly accepts those responsibilities’” through “‘specific rights-creating

             or duty-imposing’ language in a treaty, statute, or regulation”); Restatement

             (Second) of Trusts § 95 (1959) (“The United States or a State has capacity to

             take and hold property in trust, but in the absence of a statute otherwise

             providing the trust is unenforceable against the United States or a State.”).

                    In Valentini, the district court concluded that the 1888 deed created a

             trust but recognized that Congress had not provided for judicial enforce-

             ment. Valentini I, 860 F. Supp. 2d at 1103-1111. Here, the district court held

             that Congress later provided for enforcement by enacting the Leasing Act

             and the Campus Improvement Act. 1-ER-198–199. The court reasoned that

             “the statutory obligations” imposed by those Acts “mirror the types of fidu-

             ciary duties that trustees traditionally assume.” 1-ER-199.

                    But even if the Leasing and Campus Improvement Acts had accepted

             all the trust duties supposedly created by the deed—rather than just the nar-

             rower set of restrictions specified in the Acts themselves—they did not

                                                    - 60 -
(70 of 79), Page 70 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 70 of 79




             provide for those duties to be judicially enforceable. There is a sharp dis-

             tinction between situations where “Congress has been content to provide

             that the accepting and administering officials shall observe the terms and

             conditions of [a] gift” and those where “it has gone farther, and provided

             means whereby the donor can through court action compel the administer-

             ing official or agency to observe the terms and conditions of an accepted

             gift.” Story, 184 F.2d at 456. Here, Congress plainly did not do the latter.

                    To the contrary, the Leasing Act provides for administrative and polit-

             ical rather than judicial remedies. In the section addressing compliance, it

             charges VA’s Inspector General with determining whether VA is “in com-

             pliance with all Federal laws relating to leases and land use at the Campus.”

             Leasing Act § 2(h)(1), 130 Stat. at 928; see id. § 2(j)(3), 130 Stat. at 929-930 (re-

             quiring submission of Inspector General reports to Congress). And if the

             Inspector General finds noncompliance or “significant mismanagement,”

             the Act specifies a political, not a judicial, remedy: VA “may not enter into

             any lease or land-sharing agreement at the Campus, or renew any” noncom-

             pliant lease or agreement, “until the Secretary certifies” to four congressional

             committees, as well as every Member of Congress “who represents the area

             in which the Campus is located[,] that all recommendations included in the

                                                    - 61 -
(71 of 79), Page 71 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 71 of 79




             [Inspector General’s] audit report or evaluation have been implemented.”

             Id. § 2(h)(1), 130 Stat. at 928. The Act also facilitates congressional oversight

             by requiring VA to notify the same congressional committees and Members

             of “each lease or land-sharing agreement intended to be entered into or re-

             newed at the Campus, … not later than 45 days before entering into or re-

             newing the lease or land-sharing agreement,” and requiring VA to provide

             annual reports “evaluating all leases and land-sharing agreements carried

             out at the Campus.” Id. § 2(j)(1), (2), 130 Stat. at 929. Neither the Leasing Act

             nor the Campus Improvement Act says anything about a judicial remedy.

                    The absence of such language in the Leasing and Campus Improve-

             ment Acts contrasts with its presence in a different provision that the Valen-

             tini court identified as providing for enforcement of trust duties against the

             federal government. 860 F. Supp. 2d at 1107. That provision, 2 U.S.C. § 159,

             expressly states that the Library of Congress Trust Fund Board “may be sued

             in the United States District Court for the District of Columbia … for the

             purpose of enforcing the provisions of any trust accepted by it.” There is

             nothing remotely like that here, and thus no basis to conclude that any trust

             duties imposed by the 1888 deed are judicially enforceable.




                                                    - 62 -
(72 of 79), Page 72 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 72 of 79




             V.     The District Court’s Land-Use Injunctions Exceeded Its Au-
                    thority

                    The district court also concluded that three of VA’s land-use agree-

             ments for the Campus—with Brentwood School, Safety Park, and Bridge-

             land—were invalid under the APA. 1-ER-115–117. The government does

             not challenge that part of the judgment (though the invalidation of the

             UCLA lease should be reversed because it rested solely on a charitable-trust

             theory, 1-ER-112–115; 1-ER-115 n.14).

                    But the district court did not merely hold the agreements invalid and

             “void” them, 1-ER-117. It took the significant additional step of enjoining

             VA “from entering into new leases with” the entities in question, reasoning

             that VA had “persistent[ly]” made “unlawful leasing decisions” and that

             “any renegotiation of” the leases in question “would be futile.” 1-ER-118.

             The court then held a series of hearings where it encouraged what it charac-

             terized as settlements with respect to the land-use agreements, in part by

             threatening, and in some cases imposing, severe consequences on the land

             users in an apparent effort to induce them to make concessions. See supra p.

             16. And the court ordered the government to enter into a new lease with

             Brentwood on terms agreed upon by plaintiffs and Brentwood—terms



                                                    - 63 -
(73 of 79), Page 73 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 73 of 79




             providing for ongoing judicial oversight over VA’s use of revenue from the

             lease. 1-ER-33–37.

                    Those actions exceeded the court’s authority for several reasons. First,

             they went well beyond remedying any injury to plaintiffs. Because a federal

             court’s “constitutionally prescribed role is to vindicate the individual rights

             of the people appearing before it,” “[a] plaintiff’s remedy must be tailored to

             redress the plaintiff’s particular injury.” Gill v. Whitford, 585 U.S. 48, 72-73

             (2018). Equitable principles reinforce that constitutional limit: Injunctive re-

             lief may “be no more burdensome to the defendant than necessary to pro-

             vide complete relief to the plaintiffs.” Califano v. Yamasaki, 442 U.S. 682, 702

             (1979). Here, to the extent the agreements in question injured plaintiffs by

             violating the Leasing Act, those injuries would be fully remedied by holding

             the agreements invalid and leaving VA free to renegotiate them.

                    Second, the court exceeded its statutory authority under the APA.

             “Unlike a district court managing a garden variety civil suit, a district court

             reviewing a final agency action does not perform its normal role but instead

             sits as an appellate tribunal.” Palisades Gen. Hosp. Inc. v. Leavitt, 426 F.3d 400,

             403 (D.C. Cir. 2005) (quotation marks omitted); see, e.g., County of Fresno v.

             Azar, 384 F. Supp. 3d 1164, 1172 (E.D. Cal. 2019) (quoting the D.C. Circuit’s

                                                    - 64 -
(74 of 79), Page 74 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 74 of 79




             characterization); S.A. v. Trump, 363 F. Supp. 3d 1048, 1075 (N.D. Cal. 2018)

             (same). And just as an appellate court’s role in reviewing a district-court

             judgment is to affirm, reverse, or vacate it—not to fashion new equitable de-

             crees—a district court’s role in reviewing agency action is generally limited

             to determining whether the agency acted lawfully and holding its action in-

             valid if it did not. “[U]nder settled principles of administrative law, when a

             court reviewing agency action determines that an agency made an error of

             law, the court’s inquiry is at an end: the case must be remanded to the agency

             for further action consistent with the correct legal standards.” Palisades, 426

             F.3d at 403 (quotation marks omitted); see Maine Med. Ctr. v. Burwell, 841 F.3d

             10, 16 (1st Cir. 2016) (invoking this principle).

                    District courts possess equitable power in APA actions, but it is limited

             to effectuating their statutory powers. Thus, for example, when this Court

             spoke in Northwest Environmental Defense Center v. Bonneville Power Admin-

             istration of the federal courts’ “broad powers” as “court[s] of equity conduct-

             ing judicial review under the APA,” it was referring to the courts’ ability to

             order an agency that had unlawfully stopped doing something to continue

             doing it. 477 F.3d 668, 680-681 (9th Cir. 2007). A court can likewise enjoin

             the enforcement of an unlawful agency action to the extent necessary to

                                                    - 65 -
(75 of 79), Page 75 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 75 of 79




             prevent harm to the plaintiff; doing so effectuates the court’s power to hold

             the action unlawful. Here, once the district court held the agreements inva-

             lid, it could perhaps have enjoined VA against reentering agreements on the

             terms the court had held were unlawful. But the court could not enjoin VA

             against entering any future agreements with the entities in question, regard-

             less of the terms, any more than a court that invalidates an agency’s rule can

             enjoin the agency against issuing any rule on the same subject in the future.

                    The district court’s assertion that VA had “persistent[ly]” made “un-

             lawful leasing decisions” in the past, 1-ER-118, is irrelevant even assuming

             it is accurate. Consider again the example of a court holding invalid an

             agency rule: The fact that courts had invalidated similar rules in the past

             would not justify an injunction barring the agency from trying again. Such

             an injunction would improperly intrude into the functioning of the Execu-

             tive Branch. Here, even if there were reason to believe VA might enter into

             unlawful agreements in the future, the validity of such agreements would

             need to be adjudicated in future APA actions, not preemptively adjudicated

             here. And in any event, the district court’s assertion that “renegotiation …

             would be futile,” id., was undercut by the court’s subsequent determination




                                                    - 66 -
(76 of 79), Page 76 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 76 of 79




             that a new version of the Brentwood lease, agreed upon by Brentwood and

             plaintiffs, would comply with the applicable statutes.

                    Finally, the district court’s order requiring VA to enter into that new

             lease with Brentwood violated the basic precept that the government possess

             an “unrestricted power … to determine those with whom it will deal,” Per-

             kins v. Lukens Steel Co., 310 U.S. 113, 127 (1940). VA has no desire to evict

             Brentwood; it has every intention of entering into a new lease with Brent-

             wood that provides additional benefits to Veterans and their families. But

             the court could not compel it to do that.

                    These errors pervaded the district court’s post-judgment proceedings,

             reflecting the court’s basic misunderstanding of its role. The task of adjudi-

             cating plaintiffs’ APA challenge to the land-use agreements was complete

             when the court held the agreements invalid. At that point, there was no re-

             maining claim to be “settled.” The protracted series of post-judgment hear-

             ings, at which the district court sought to pressure the government and the

             land users into entering into new agreements on terms the court found pref-

             erable, had nothing to do with “settling” any claims; rather, they reflected

             the court’s overly expansive understanding of its powers to superintend

             government operations.

                                                    - 67 -
(77 of 79), Page 77 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 77 of 79




                                              CONCLUSION

                    The district court’s judgment should be reversed.

                                                             Respectfully submitted,

                                                             BRIAN M. BOYNTON
                                                               Principal Deputy Assistant
                                                                 Attorney General
                                                             E. MARTIN ESTRADA
                                                                United States Attorney
                                                             CATHERINE M.A. CARROLL
                                                              Deputy Assistant Attorney General
                                                             CHARLES W. SCARBOROUGH

                                                             /s/ Daniel Winik
                                                             DANIEL WINIK
                                                             AMANDA L. MUNDELL
                                                               Attorneys, Appellate Staff
                                                               Civil Division, Room 7245
                                                               U.S. Department of Justice
                                                               950 Pennsylvania Avenue NW
                                                               Washington, DC 20530
                                                               (202) 305-8849
                                                               daniel.l.winik@usdoj.gov




                                                    - 68 -
(78 of 79), Page 78 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 78 of 79




                                  STATEMENT OF RELATED CASES

                    This case is related to the four other appeals that have been filed in the

             same case: Nos. 24-6338, -6578, -6603, and -6888. The motions panel directed

             that these appeals be calendared together for April 2025.



                                                           /s/ Daniel Winik
                                                           Daniel Winik
(79 of 79), Page 79 of 79   Case: 24-6576, 01/17/2025, DktEntry: 58.1, Page 79 of 79




                                    CERTIFICATE OF COMPLIANCE

             9th Cir. Case Number(s) No. 24-6576

                    I am the attorney or self-represented party.

                    This brief contains 13,975               words, excluding the items ex-

             empted by Fed. R. App. P. 32(f). The brief’s type size and typeface comply

             with Fed. R. App. P. 32(a)(5) and (6).

                    I certify that this brief (select only one):

             [ x ] complies with the word limit of Cir. R. 32-1.

             [ ] is a cross-appeal brief and complies with the word limit of Cir. R. 28.1-1.

             [ ] is an amicus brief and complies with the word limit of Fed. R. App. P.
                29(a)(5), Cir. R. 29-2(c)(2), or Cir. R. 29-2(c)(3).

             [ ] is for a death penalty case and complies with the word limit of Cir. R. 32-
                 4.

             [ ] complies with the longer length limit permitted by Cir. R. 32-2(b) because
                 (select only one):
                     [ ] it is a joint brief submitted by separately represented parties;
                     [ ] a party or parties are filing a single brief in response to multiple
                     briefs; or
                     [ ] a party or parties are filing a single brief in response to a longer
                     joint brief.

             [    ] complies with the length limit designated by court order dated
                 _____________.

             [ ] is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-
                2(a).

             Signature /s/ Daniel Winik                      Date January 17, 2025
